Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 1 of 104




                         EXHIBIT B
      Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                          DEPOSITION             Page 2 of 104
                                                         GREG HAMILTON
                                      CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                                               1 (Pages 1 to 4)
                                                                1                                                                           3
1                                                                   1                 INDEX
           UNITED STATES DISTRICT COURT                             2    WITNESS                          EXAMINATION
2          DISTRICT OF MASSACHUSETTS                                3    GREG HAMILTON
3                                                                   4     By Mr. Jackson                         5
   IN RE: PHARMACEUTICAL                   )                        5
 4 INDUSTRY AVERAGE WHOLESALE )                                     6              EXHIBITS
   PRICE LITIGATION                   ) MDL No. 1456                7    DEPOSITION EXHIBIT                FOR IDENTIFICATION
 5 _____________________________ )                                  8     Number 1 - Notice of Deposition of Relator 5
                       ) Master File No.                                       Greg Hamilton
 6 THIS DOCUMENT RELATES TO:                  ) 1:01-CV-12257-PBS   9
                       )                                                  Number 2 - Pages from drugfraudsettlement.com        16
 7 United States ex rel.       ) Sub-Category Case                  10         re: Attorneys
   Linnette Sun and Greg           ) No. 1:08-CV-11200              11    Number 3 - Page from drugfraudsettlement.com         16
 8 Hamilton, Relators           )                                              re: Drug Expert Greg Hamilton, Sr.
                       )                                            12
 9    v.                )                                                 Number 4 - Greg Hamilton curriculum vitae           29
                       )
                                                                    13
10 Baxter Hemoglobin              )
                                                                          Number 5 - Document entitled Baxter Products 30
   Therapeutics and Baxter          )
                                                                    14         W/AWP History, GH000001-000009
11 International Inc.        )
                                                                    15    Number 6 - Declaration of Greg Hamilton       35
12
      HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER              16    Number 7 - Amended Complaint for Damages          37
13                                                                  17    Number 8 - Document entitled Hemophilia        46
14        Deposition of GREG HAMILTON, taken before                            Resources of America, Inc.,
15 MARGARET A. BACHNER, CSR, RMR, CRR, and Notary Public,           18         GH000010-000022
16 pursuant to the Federal Rules of Civil Procedure for             19    Number 9 - Document entitled Express Scripts, 47
17 the United States District Courts pertaining to the                         Inc. First DataBank File Inquiry,
18 taking of depositions for the purpose of discovery, at           20         GH000023-000046
19 Suite 600, 300 North LaSalle Street, Chicago,                    21    Number 10 - Document entitled Baxter         49
20 Illinois, on the 21st day of January, A.D. 2010, at                          BioScience, Customer: Curascript,
21 10:32 a.m.                                                       22          GH000047
22                                                                  23    Number 11 - RBC Capital Markets Document         54
23                                                                              entitled "A Changing Paradigm In
24                                                                  24          Hemophilia," GH000048-000071
25                                                                  25


                                                                2                                                                           4
1        There were present at the taking of this                   1             EXHIBITS
      deposition the following counsel:                             2    DEPOSITION EXHIBIT                 FOR IDENTIFICATION
                                                                    3     Number 12 - U.S. News article entitled    56
2                                                                              "Court: HMOs Can Be Made to
3           on behalf of the Relators;                              4          Open Networks," Gh000072-000074
4        BY: MARK ALLEN KLEIMAN, ESQUIRE                            5     Number 13 - Deposition of Patricia Kay     57
5        2907 Stanford Avenue                                                  Morgan, GH000126-000290
                                                                    6
6        Venice, California 90292                                         Number 14 - State of Texas Notice of Intention 58
7        310-306-8094                                               7          to Take Oral Depositions,
8                                                                              GH000089-000125
           on behalf of Baxter Hemoglobin Therapeutics              8
                                                                          Number 15 - Deposition Summary of Patricia Kay 59
 9    and Baxter International Inc.;                                 9         Morgan, GH000291-000320
10       DICKSTEIN SHAPIRO LLP                                      10    Number 16 - Document entitled Global Market    61
11       BY: J. ANDREW JACKSON, ESQUIRE                                        Research Hemophilia, GH000321-
12          RUCHI JAIN, ESQUIRE                                     11         001495
13       1825 Eye Street, N.W.                                      12    Number 17 - Document entitled The Plasma      69
                                                                               Fractions Market in the United
14       Washington, DC 20006-5403                                  13         States, GH001527-001744
15       202-420-2200                                               14    Number 18 - Summary of First DataBank        72
16                                                                             Information on Selected Drugs,
17          on behalf of Bayer Corporation.                         15         GH001526
                                                                    16    Number 19 - Appointment Book excerpts,       77
18       SIDLEY AUSTIN LLP                                                     GH001497-001523
19       BY: ENJAMIN KEITH, ESQUIRE                                 17
20       One South Dearborn Street                                        Number 20 - 4/22/05 letter from Kleiman to   86
21       Chicago, Illinois 60603                                    18         Gonzales and Theis, GH001525
                                                                    19    Number 21 - Memorandum in Opposition to         98
22       312-853-7814                                                          Baxter's Motion to Dismiss
23                                                                  20
      ALSO PRESENT:                                                 21
24      MR. MICHAEL BOLTON,                                         22
                                                                    23
        In-House Counsel, Baxter International Inc.                 24
25                                                                  25


                              L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                             HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                     HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                         DEPOSITION             Page 3 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                           2 (Pages 5 to 8)
                                                          5                                                             7
 1                (The witness was duly sworn.)             1      think it was like a response to a motion of yours.
 2                GREG HAMILTON,                            2         Q. So, the Relators' Opposition to our Motion
 3   called as a witness herein, having been first duly     3      to Dismiss, you think that's what it was?
 4   sworn, was examined and testified as follows:          4         A. I think that's what it was.
 5                 EXAMINATION                              5         Q. Okay. Any other documents you reviewed in
 6   BY MR. JACKSON:                                        6      preparation for your deposition?
 7      Q. Mr. Hamilton, my name is Andy Jackson. To 7                A. Not that I recall.
 8   my left is Ruchi Jain. We represent Baxter in this     8         Q. Did you speak with Miss Sun?
 9   case.                                                  9         A. No, I did not.
10                (Deposition Exhibit Number 1 was         10         Q. Sir, have you been deposed before?
11                marked for identification.)              11         A. Yes, I have.
12                (Document tendered to the                12         Q. How many times?
13                witness.)                                13         A. I believe three.
14   BY MR. JACKSON:                                       14         Q. Can you briefly describe each of those
15      Q. Let me show you what's been marked as           15      depositions, what case it was and what the subject
16   Deposition Exhibit 1. Deposition Exhibit 1 is a       16      matter of the deposition was?
17   Notice of Deposition regarding you and this matter.   17         A. Okay. One was a civil fraud case involving
18          Have you seen that document before?            18      Vioxx.
19      A. I believe so.                                   19             The second was the Kentucky AWP case.
20      Q. You're appearing today pursuant to that         20             And the third was -- I believe it's a civil
21   Deposition Notice?                                    21      case on product liability involving a hepatitis C
22      A. Yes.                                            22      outbreak in Las Vegas.
23      Q. Mr. Hamilton, I'm going to be asking a          23         Q. When was the deposition regarding the Vioxx
24   series of questions today. I need you to answer       24      matter?
25   aloud, no shaking head up or down or left to right so 25         A. About a year and a half ago.

                                                          6                                                             8
 1   we can make sure we get a full record. Is that okay       1      Q. What was your role in that case?
 2   with you?                                                 2      A. I was an expert witness.
 3      A. Yes.                                                3      Q. For whom?
 4      Q. And I presume you're not on any medication          4      A. For the plaintiff.
 5   or under any other kinds of drugs that would impair       5      Q. Who was the plaintiff?
 6   your ability to understand my questions or your           6      A. Henry Chapin -- or Channon. Sorry.
 7   ability to testify today.                                 7      Q. And did your testimony in that case concern
 8      MR. KLEIMAN: There's no question pending.              8   AWP in any way; that is, average wholesale price?
 9   BY MR. JACKSON:                                           9      A. No, it did not.
10      Q. You can answer the question.                       10      Q. How about average manufacturer price?
11      A. I understand. I was waiting -- if you'd            11      A. No, it did not.
12   like me to affirm your statement, yes, you're correct.   12      Q. Best price?
13      Q. That's fine. And you understand that there         13      A. No, it did not.
14   may be times today when your counsel objects to my       14      Q. And what was the gravamen? What was the
15   question. Unless you're instructed by your counsel to    15   principal matter at issue in the Vioxx case?
16   answer, you go ahead and answer the question.            16      A. I'm not sure -- are you talking about the
17           Do you understand that?                          17   principal matter for the plaintiffs, his lawyers or my
18      A. Yes, I do.                                         18   role as the expert witness?
19      Q. Mr. Hamilton, did you review any documents         19      Q. The plaintiff in the first instance.
20   in preparation for your deposition?                      20      A. The plaintiff had damages as a result of
21      A. Yes, I did.                                        21   being infected with hepatitis C from -- at least they
22      Q. What documents did you review?                     22   were alleging that at this particular center.
23      A. I reviewed a rough version of Linnette             23      Q. And what was your role as the expert in
24   Sun's recent deposition. I reviewed my Declaration.      24   that case?
25   And I quickly scanned our counsel's response to -- I     25      A. My role was to describe and discuss the

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                     HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                         DEPOSITION             Page 4 of 104
                                                        GREG HAMILTON
                                CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         3 (Pages 9 to 12)
                                                         9                                                             11
 1   methods and operations of pharmaceutical marketing.      1           So, those are the only three cases you've
 2      Q. And in the Kentucky AWP matter, I believe          2   testified in; Vioxx, Kentucky AWP and the hepatitis C
 3   you testified that your role there was as an expert?     3   case?
 4      A. Yes.                                               4       A. When you say "testified," if you're
 5      Q. What topic areas were you identified as a          5   referring to in court, I've already answered that I
 6   potential expert for?                                    6   have not testified in court.
 7      A. I'd have to go back and get -- if you want         7       Q. In deposition.
 8   exact details, but in general --                         8       A. In deposition, yes.
 9      Q. In general.                                        9       Q. All right. Are there any other court
10      A. In general it was pharmaceutical marketing,       10   matters that you have been retained as a testimonial
11   pricing and specifically AWP.                           11   or consulting expert?
12      Q. And when we use the phrase or the word            12       MR. KLEIMAN: Objection. Compound.
13   "AWP" or the letters "AWP," we'll understand it to      13   BY MR. JACKSON:
14   mean average wholesale price?                           14       Q. You can answer the question.
15      A. That is correct.                                  15       A. Okay. But let me break it down. You want
16      Q. And who were your retained by in that             16   to know if there are any other cases ever in my entire
17   matter?                                                 17   career that I've been retained in the capacity either
18      A. Chuck Barnhill.                                   18   as an expert witness or as a consultant?
19      Q. You were an expert for the plaintiffs in          19       Q. Yes.
20   that case?                                              20       MR. KLEIMAN: To the extent to which Mr. Hamilton
21      A. That's correct.                                   21   has been retained as an expert on cases that are under
22      Q. And was that a qui tam case, a False Claims       22   seal, I'm going to instruct him not to answer. As to
23   Act case?                                               23   all other matters he can.
24      A. No, I don't believe it was. It was the            24   BY THE WITNESS:
25   State of Kentucky versus several defendants.            25       A. In light of counsel's objection, much of my

                                                        10                                                             12
 1       Q. And then the civil case, the product              1   work is in qui tam work. And some of my cases I know
 2   liability matter regarding hepatitis C, what was your    2   for certain are under federal seal. These things come
 3   role in that case?                                       3   in and out from under seal, so I just don't know if
 4       A. My role was as a -- an expert in                  4   some of them are still under seal or not under seal.
 5   pharmaceutical marketing.                                5   So, I think I'd have to err on the side of caution and
 6       Q. Did that case have anything to do with AWP,       6   just say I can't give you that list.
 7   AMP or BP?                                               7   BY MR. JACKSON:
 8       A. No, it did not.                                   8      Q. In how many cases total have you been
 9       Q. Have you ever testified at trial before?          9   retained?
10       A. No, I have not.                                  10      A. I don't have an exact number, but if you'd
11       Q. Have you ever been accepted by a Court as        11   like -- would you like a range, an estimate?
12   an expert witness?                                      12      Q. That would be fine.
13       A. I'm not sure.                                    13      A. How about somewhere between 10 and 25?
14       Q. Have you ever testified during a trial?          14      Q. And you can't tell me which of those 10 to
15       A. No, I have not.                                  15   25 cases are presently under seal or not?
16       Q. Mr. Hamilton, were you aware that today's        16      A. Not at this moment.
17   deposition is limited to matters related to             17      Q. How many of those 10 to 25 cases relate to
18   jurisdictional issues, and that if the Motion to        18   the pharmaceutical industry?
19   Dismiss is denied in this case, there will be a         19      A. All of them.
20   subsequent time when we will depose you regarding       20      Q. How many of those cases are False Claims
21   substantive matters? Were you aware of that?            21   Act cases, whether federal False Claims Act or state
22       A. I am aware to the extent that I understand       22   False Claims Act?
23   the legal jargon.                                       23      A. Off the top of my head, and this is an
24       Q. Okay. That's fine. Have you ever been --         24   estimate, to the best of my recollection all but the
25   I'm sorry.                                              25   three that we discussed that I've given depositions

                         L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                        HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                     HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                         DEPOSITION             Page 5 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                        4 (Pages 13 to 16)
                                                         13                                                           15
 1   for.                                                 1        BY THE WITNESS:
 2                 (Mr. Michael Bolton entered            2            A. It was in the case of Steinke versus Merck.
 3                 the deposition proceedings.)           3        BY MR. JACKSON:
 4   BY MR. JACKSON:                                      4            Q. How much were you paid as a consultant or
 5       Q. So, all are False Claims Act cases of         5        expert in the Steinke case by Mr. Kleiman?
 6   similar ilk?                                         6            A. Well, first of all, I don't know if it was
 7       A. Except for the --                             7        just -- it wasn't just by Mr. Kleiman. I was retained
 8       Q. The first three you mentioned; the Vioxx,     8        by Mr. Kleiman and Steve Cohen and BethAnne Yeager as
 9   the AWP and the civil matter?                        9        a group. Actually, I think -- I don't remember which
10       A. Correct.                                     10        group issued the checks. But if you'd like a total of
11       MR. KLEIMAN: Excuse me, Mr. Jackson. Can you 11           how much I made from the entire case?
12   identify who it is that has entered the room and is 12            Q. Yes, sir.
13   sitting at the table?                               13            A. About 115, 120 thousand dollars.
14       MR. JACKSON: Sure. All the way at the end of    14            Q. And what period of time did your retention
15   the table is Michael Bolton, who is a lawyer for    15        and work cover in that case?
16   Baxter.                                             16            A. Again I can just give you an estimate. I
17       MR. KLEIMAN: Thank you.                         17        think it was between 2005 and 2008.
18   BY MR. JACKSON:                                     18            Q. You mentioned Mr. Cohen, Mr. Kleiman and
19       Q. In how many of those cases have you been     19        Ms. Yeager in your answer to that. Are they members
20   retained by the plaintiffs or relators?             20        of the same law firm?
21       A. All of them.                                 21            A. I don't think so.
22       Q. How many of those cases relate or refer to   22            Q. Were you aware of the fact that those three
23   pharmaceutical pricing?                             23        lawyers advertise under a website entitled
24       A. I don't have that off the top of my head.    24        drugfraudsettlement.com?
25   I don't know.                                       25            A. No, I've never seen that website.


                                                         14                                                           16
 1       Q. More than half?                                    1                (Deposition Exhibit Number 2 was
 2       A. Well, pricing's a broad subject. So, in            2                marked for identification.)
 3   the sense that -- you know, in any sense that I can       3                (Document tendered to the
 4   assign the word "pricing," I would say, yes, more than    4                witness.)
 5   half.                                                     5   BY MR. JACKSON:
 6       Q. How many of those cases relate or involve          6       Q. I'll show you what's been marked as Exhibit
 7   average wholesale price?                                  7   Number 2. We'll have to have copies made, but Mark,
 8       MR. KLEIMAN: Objection. Ambiguous. Are we now         8   this comes from the website.
 9   talking about as the denominator the more than half       9          Oh, do you have copies?
10   that involve pricing, or is the denominator still the    10          Have you ever seen that before?
11   universe of false claims cases?                          11       A. No, I haven't, not -- I mean, I don't
12   BY MR. JACKSON:                                          12   believe I've seen this. There was a website --
13       Q. You can answer the question.                      13       MR. KLEIMAN: You've answered the question.
14       A. Well, first of all, I don't have that             14   BY MR. JACKSON:
15   statistic with me. I haven't broken the cases down.      15       Q. You were about to make a comment about a
16           But again, of all the cases I have and have      16   website. What was the website you were about to refer
17   ever worked on, if you're asking what percentage         17   to?
18   are -- have some, if any, touched on AWP, I would        18       A. When the Merck case was settled, this group
19   probably say at least half of them.                      19   of attorneys put together a website to explain the
20       Q. Have you ever been retained by your               20   case. And I saw that particular site.
21   counsel, Mr. Kleiman, before?                            21                (Deposition Exhibit Number 3 was
22       A. Yes, I have.                                      22                marked for identification.)
23       Q. In what case was that or cases?                   23                (Document tendered to the
24       A. It was in -- help me out. Mark, is that --        24                witness.)
25                (Discussion off the record.)                25

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                     HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                         DEPOSITION             Page 6 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         5 (Pages 17 to 20)
                                                          17                                                           19
 1   BY MR. JACKSON:                                            1       A. No.
 2      Q. Let me show you what's been marked as                2      Q. Do any of the other 10 to 25 cases that
 3   Deposition Exhibit 3. Deposition Exhibit 3 is a page       3   you've identified that you have been retained as a
 4   from that same website from which Deposition Exhibit 2     4   consultant or an expert concern Baxter?
 5   came. You are identified as the lawyers' drug expert.      5      MR. KLEIMAN: To the extent to which any of the
 6          Have you ever seen that document before?            6   cases are under seal I'm going to instruct Mr.
 7       A. Yes, I have.                                        7   Hamilton not to answer.
 8      Q. Has Mr. Kleiman or any of the other two              8   BY THE WITNESS:
 9   lawyers identified in Deposition Exhibit 2 retained        9       A. There is one case that is not under seal.
10   you in connection with any other AWP cases?               10   And it is one in which I've been deposed. And that is
11       A. Would you define "AWP cases"?                      11   the hepatitis C case in Las Vegas.
12      Q. I'll ask the question has Mr. Kleiman or            12   BY MR. JACKSON:
13   any of the other two lawyers identified in Exhibit 2      13      Q. And that is the third of the cases that you
14   retained you as an expert in connection with any other    14   mentioned earlier that you'd been deposed on?
15   cases in which a pharmaceutical company is a              15       A. Yes, it is.
16   defendant?                                                16      Q. And what is the basis for which you're not
17       A. I don't know.                                      17   testifying regarding these cases under seal?
18      Q. You don't know whether you've been retained         18       A. Pardon me?
19   by those lawyers in any other matter?                     19      Q. Why are you not testifying or why are you
20       A. I don't know if a pharmaceutical company is        20   not answering my questions regarding the cases that
21   at this time a defendant in a case. In other words, a     21   are under seal?
22   case may or may not have been filed, and I may not        22      MR. KLEIMAN: Because I've instructed him not to.
23   know whether that case has been filed or not.             23   BY THE WITNESS:
24           As to whether or not I've been retained, my       24       A. That's a good reason.
25   answer is no.                                             25      MR. JACKSON: I want to designate this case as

                                                          18                                                           20
 1      Q. Did any of those lawyers identified in               1   subject to the protective order issued under MDL
 2   Exhibit 2 -- they have not retained you in connection      2   Number 1456, and I will designate this as highly
 3   with any of the 10 to 25 other cases against the           3   confidential.
 4   pharmaceutical industry that you identified earlier?       4   BY MR. JACKSON:
 5      A. That's correct.                                      5      Q. In light of the fact that a protective
 6      Q. Who were you retained by in the Strong               6   order has been entered in all these cases and this
 7   versus Merck case?                                         7   deposition is subject to that protective order, will
 8      A. Craig Steffans.                                      8   you now answer my questions regarding those 10 to 25
 9      Q. What's that case about?                              9   cases under seal?
10      A. That case concerns the wrongful death of            10      MR. KLEIMAN: No.
11   Mr. Steffans' client. Are you asking me what his          11   BY THE WITNESS:
12   claim is?                                                 12      A. No.
13      Q. Yes.                                                13   BY MR. JACKSON:
14      A. I believe his claim is called, and again            14      Q. Are you presently a plaintiff in any other
15   I'm not a lawyer, but I think he called it civil          15   case other than the case we're discussing today?
16   fraud. And it has to do with the promotion of the         16      A. No.
17   drug, how the drug is promoted.                           17      Q. Have you ever before been a plaintiff in a
18      Q. Which drug?                                         18   lawsuit?
19      A. Vioxx.                                              19      A. Yes.
20      Q. Is that the same case that you mentioned            20      Q. What was the subject matter of that
21   earlier, the Vioxx case, when I asked you about the       21   lawsuit?
22   cases in which you've been deposed?                       22      A. I think I had a small claims case, like, 20
23      A. Yes.                                                23   years ago. I have a vague recollection of that.
24      Q. Same case. Did that Vioxx case concern              24      Q. But other than the present case that you're
25   Baxter in any way?                                        25   being deposed about today, you have not been and are

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                     HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                         DEPOSITION             Page 7 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                          6 (Pages 21 to 24)
                                                          21                                                            23
 1   not now a plaintiff in any other litigation?               1      Q. Your attorney didn't object, so you can
 2      A. I'm really trying to think hard here. I              2   answer my question.
 3   had a -- I had a case where I was a plaintiff for a        3      MR. KLEIMAN: I want you to exclude from this any
 4   period of time in a personal injury case. Again, I         4   discussions you have had with me or with Lauren Udden.
 5   think that was another -- it might have been a small       5   BY THE WITNESS:
 6   claims case, too. That's it.                               6      A. That excludes everything.
 7      Q. You mentioned the Kentucky AWP case. Did             7   BY MR. JACKSON:
 8   any of your testimony in the Kentucky AWP case have        8      Q. So, by your response do you mean that the
 9   anything to do with Baxter?                                9   one to three times you met with Ms. Sun the lawyers
10      A. Not that I recall.                                  10   were always present?
11      Q. Were you provided any documents in                  11      A. Yes, that is true.
12   connection with that case that concerned or related to    12      Q. And by that do you also mean that the
13   Baxter?                                                   13   method or way by which you first met Miss Sun somehow
14      A. No.                                                 14   involved your lawyers?
15      Q. And in the Strong versus Merck case, were           15      MR. KLEIMAN: You can answer that question to the
16   you provided any documents or information in              16   extent it does not involve a communication with me or
17   connection with that case that related to Baxter?         17   Mr. Udden.
18      A. No.                                                 18   BY THE WITNESS:
19      Q. And in connection with the 10 to 25 other           19      A. But everything involves communication with
20   pharmaceutical cases that remain under seal, have you     20   you and Mr. Udden. So, therefore, I can't answer it.
21   been provided any information with regard to any of       21   BY MR. JACKSON:
22   those cases that relate to Baxter?                        22      Q. Let me ask it a different way.
23      A. Not that I recall.                                  23          The first time you met Ms. Sun did you
24      Q. Mr. Hamilton, when did you first meet               24   contact her?
25   Linnette Sun?                                             25      A. No.

                                                          22                                                            24
 1       A. I can only estimate that. Probably                  1      Q. Did she contact you?
 2   sometime around 2005, sometime around the time we          2      A. No.
 3   filed the Complaint.                                       3      Q. How about the other two times that you and
 4       Q. How many times have you met with her in             4   Ms. Sun have met personally; did you initiate the
 5   person?                                                    5   communications?
 6       A. I don't have an exact answer, but I would           6      A. No, I did not.
 7   say it's somewhere between one and three.                  7      Q. Did Ms. Sun initiate the communications?
 8       Q. Has Ms. Sun ever provided you any documents         8      A. No, she did not.
 9   or information relating to Baxter?                         9      Q. How many times have you and Ms. Sun spoken
10       A. Nothing that I specifically recall. She            10   on the telephone?
11   has provided documents to our attorneys. And I may        11      A. Absent of attorneys?
12   have had -- I may have had access to them, but I don't    12      Q. Yes.
13   recall ever looking at them.                              13      A. Zero.
14       Q. Based upon that answer, do you remember            14      Q. And just to make sure I understand your
15   reviewing any documents in connection -- that you         15   answer, you had not met Ms. Sun until sometime in
16   might have received from Ms. Sun?                         16   2005, is that correct?
17       A. No.                                                17      A. Again I would be guessing. It could have
18       Q. So, to your knowledge you have not reviewed        18   been 2006 when I -- you say, "met." I assume you mean
19   internal documents, internal Baxter documents that        19   physically?
20   were provided to you by Ms. Sun?                          20      Q. Yes, physically met.
21       A. Correct.                                           21      A. That could have been 2006. I don't
22       Q. How did you come to meet Ms. Sun?                  22   remember.
23       A. I'm going to have to say that's a lawyer           23      Q. Your first communication with Ms. Sun, was
24   thing. It has everything to do with my attorneys.         24   that in person or by telephone?
25   And so, I think that's all under their privilege.         25      A. Again, any and all communication that I've


                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                     HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                         DEPOSITION             Page 8 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                          7 (Pages 25 to 28)
                                                          25                                                            27
 1   had with Ms. Sun was with and through the attorneys.       1       A. No, I don't.
 2      MR. KLEIMAN: He's not asking you for content.           2       Q. Prior to filing this lawsuit, Mr. Hamilton,
 3   He's just asking whether it was in person or by phone.     3   in April of 2005 did you meet personally with any
 4   That you can answer.                                       4   representatives from the Justice Department regarding
 5   BY THE WITNESS:                                            5   the facts and circumstances of the Complaint?
 6      A. Oh, by phone.                                        6       A. I don't know. I don't know in terms of the
 7   BY MR. JACKSON:                                            7   dates. At some point in time we did meet with the --
 8      Q. And that first contact was around 2005?              8   some folks from the Justice Department. But I don't
 9      A. Approximately.                                       9   recall if it was -- you know, what the dates were I
10      Q. Okay. I'll represent to you, sir, that the          10   just don't know.
11   Amended Complaint in this matter was filed on or about    11       Q. Who did you meet with?
12   June 14, 2005. Using that date as a reference date,       12       A. The one individual I remember was Justin
13   does that help you date approximately when you and Ms.    13   Draycott.
14   Sun first had a communication?                            14       Q. How many times did you meet with Mr.
15      A. Not really.                                         15   Draycott in connection with this case?
16      Q. Do you and Ms. Sun have any agreement to            16       A. Just once, I believe.
17   share damages, fees or proceeds from this case?           17       Q. Your Complaint in this matter makes claims
18      A. Yes, we do.                                         18   based upon the law of various other states. Are you
19      Q. What are the terms of that agreement?               19   aware of that?
20      A. By "terms" could you be more specific?              20       A. Vaguely.
21      Q. Tell me about the agreement between you and         21       Q. Okay. Prior to filing the Complaint did
22   Ms. Sun regarding the splitting of fees, et cetera.       22   you meet personally with representatives of any of the
23      A. I can only give you the -- what I remember.         23   states identified in your Complaint?
24      Q. Okay.                                               24       MR. KLEIMAN: Concerning this matter?
25      A. Because, you know, it's legal stuff. So, I          25   BY MR. JACKSON:

                                                          26                                                            28
 1   don't remember all the conditions and terms.               1      Q. Concerning this matter.
 2      Q. That's fine.                                         2      A. You know, I don't recall all of who -- you
 3      A. The operative one that I remember is that            3   know, who we met and when.
 4   we are to split any relators' fees in a ratio of 80        4      Q. So, is the answer that yes, you did meet
 5   percent for her and 20 percent for me.                     5   with certain state representatives or that you did not
 6      Q. And how is that ratio determined?                    6   meet?
 7      MR. KLEIMAN: You can testify about that to the          7      A. The answer is I don't recall.
 8   extent to which you're not revealing communications        8      Q. Okay. Mr. Hamilton, can you briefly
 9   you had with myself or Mr. Udden.                          9   describe for me your work history?
10   BY THE WITNESS:                                           10      A. Sure. I started in the drug industry about
11      A. Again that means I can't answer.                    11   a year out of undergraduate school.
12   BY MR. JACKSON:                                           12      Q. What year was that?
13      Q. Is that agreement in writing?                       13      A. Oh, this is painful. In 1973 I went to
14      A. Yes, it is.                                         14   work for Ross Laboratories, which is a division of
15      MR. JACKSON: We'd like to get a copy of that           15   Abbott, as a sales rep. I worked for them in the
16   agreement. We can send you a Document Request, if         16   Chicago area for about 11 years.
17   you'd prefer.                                             17          Left there, went to work for Schering
18      MR. KLEIMAN: I'd prefer.                               18   Plough, also in Chicago, also as a sales rep. And
19   BY MR. JACKSON:                                           19   worked there for about two, two and a half years.
20      Q. Do you remember any of the other terms of           20          Left there. I went to Cutter Biological.
21   that agreement between you and Ms. Sun?                   21   Cutter Biological was a wholly-owned subsidiary of
22      A. No, I don't.                                        22   Bayer AG or Bayer Company. And I worked for the Bayer
23      Q. Do you have any other agreements in the 10          23   Company from about '86 until 1999.
24   to 25 other matters that are under seal to share fees     24          Is that the -- is that what you're looking
25   with the relators?                                        25   for or do you want --


                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                     HIGHLY CONFIDENTIAL        FiledOF01/27/10
                                         DEPOSITION             Page 9 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         8 (Pages 29 to 32)
                                                          29                                                           31
 1       Q. Sure. Keep going. You're up to 1999.                1      Q. When did you first see this document?
 2       A. In '99 I left Bayer and became a                    2      A. I don't recall.
 3   consultant. I worked at that point for basically two       3      Q. What is this document?
 4   companies. One was Bayer Corporation and the other         4      A. It appears to be a printout. It's a print
 5   one was Express Scripts. Did that for about a year or      5   screen from First DataBank's information on AWPs.
 6   so.                                                        6      Q. How do you know this document came from
 7          Then I went to work for Express Scripts,            7   First DataBank?
 8   and I worked for them from 2001 until 2006.                8      A. Well, I'm not certain that this document
 9          From 2006 until today I have been an                9   came from First DataBank. But I do know that
10   independent consultant.                                   10   documents like this come from First DataBank.
11                (Deposition Exhibit Number 4 was             11      Q. Okay. You will note at the bottom
12                marked for identification.)                  12   right-hand corner there is a Bates number GH000001
13                (Document tendered to the                    13   through GH000009.
14                witness.)                                    14          Do you see that?
15   BY MR. JACKSON:                                           15      A. Yes, I do.
16       Q. Let me show you what's been marked as              16      Q. So, those documents were produced to us by
17   Deposition Exhibit 4. Mr. Hamilton, have you ever         17   you. How did you come to have this document and,
18   seen Deposition Exhibit 4 before?                         18   therefore, produce it to Baxter in this litigation?
19       A. I believe I have.                                  19      A. If this is a document that I sent to my
20       Q. I'll represent to you, sir, that that is an        20   attorneys, which I assume at this point that it is,
21   exhibit that came from your deposition in the Kentucky    21   then it means it is a document that I printed off of
22   matter that you previously described.                     22   information from First DataBank.
23          Does that accurately reflect your work             23      Q. How was it you were able to print
24   history?                                                  24   information off of First DataBank?
25       A. Reasonably. Some of the dates I believe            25      A. I am a subscriber to First DataBank.

                                                          30                                                           32
 1   are wrong. But it's -- it's an accurate                    1      Q. What do you mean by that, "a subscriber to
 2   representation.                                            2   First DataBank"?
 3       Q. Have you ever worked for Baxter or any of           3      A. It means I pay a fee and receive AWP and
 4   the -- either of the Baxter entities that are              4   product information from First DataBank.
 5   identified as defendants in this case?                     5      Q. When did you first become a subscriber to
 6       A. No, I have not.                                     6   First DataBank and, therefore, have access to this
 7       Q. Have you ever consulted with Baxter or              7   information?
 8   either of the Baxter entities who are defendants in        8      MR. KLEIMAN: Objection. Compound. It assumes
 9   this case?                                                 9   he didn't have access before he became a subscriber.
10       MR. KLEIMAN: Objection. Ambiguous.                    10          Go ahead and answer.
11   BY MR. JACKSON:                                           11   BY MR. JACKSON:
12       Q. You can answer the question.                       12      Q. You can answer the question.
13       A. I have not been paid as a consultant for           13      A. I'll break the question up.
14   Baxter.                                                   14          In response to when did I become a
15                 (Deposition Exhibit Number 5 was            15   subscriber, two or three years ago.
16                 marked for identification.)                 16      Q. And that is you became a subscriber
17                 (Document tendered to the                   17   personally versus through some company?
18                 witness.)                                   18      A. Correct.
19   BY MR. JACKSON:                                           19      Q. Now, did you have access to First DataBank
20       Q. I show you what's been marked as Deposition        20   information prior to you personally becoming a
21   Exhibit 5. Deposition Exhibit 5 is a document that at     21   subscriber?
22   the top left corner says "Baxter Products W/AWP           22      A. Yes, I did.
23   History." And under that it's "04.11.05."                 23      Q. How did you have that access?
24           Have you ever seen this document before?          24      A. I had it directly and indirectly. I had
25       A. Yes, I have.                                       25   the access to it through Express Scripts.

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 10 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                        9 (Pages 33 to 36)
                                                         33                                                            35
 1       Q. So, while you were an employee at Express          1   information about AWP with First DataBank.
 2   Scripts?                                                  2       Q. Okay. And I believe in your Declaration
 3       A. That is correct.                                   3   that you filed in response to our Motion to Dismiss
 4       Q. In that scenario who is the subscriber? Is         4   you also identified communications you had with
 5   it Express Scripts or is it Greg Hamilton?                5   representatives at First DataBank, including Kay
 6       A. It would be Express Scripts.                       6   Morgan, correct?
 7       Q. Okay. Now, prior to your time at Express           7       A. Yes.
 8   Scripts did you have access to information within the     8       Q. And was it -- and it was, I believe from
 9   First DataBank database?                                  9   your Declaration, that it was your communication with
10       A. No.                                               10   Kay Morgan that formed the basis of the factual
11       Q. So, based upon your earlier testimony what        11   allegations in various paragraphs of the Complaint,
12   date do you believe approximately you first gained       12   correct?
13   access to First DataBank information?                    13      A. It formed -- it was the basis of some
14       A. Well, let me back up. When you say "first         14   information. It wasn't everything.
15   gained access," there's many ways to access a data       15                (Deposition Exhibit Number 6 was
16   bank's information, firsthand or secondhand or third.    16                marked for identification.)
17          I mean, one way is the way I get it now,          17                (Document tendered to the
18   which is I'm a subscriber.                               18                witness.)
19          Another way would be, like, when I was with       19   BY MR. JACKSON:
20   Express Scripts and I had access to their subscription   20       Q. Let me show you what's been marked as
21   to First DataBank.                                       21   Deposition Exhibit 7.
22          Prior to that I had -- again it depends how       22          Mr. Hamilton, I've just handed you
23   you define this, but I had access to First DataBank's    23   Deposition Exhibit 7. Deposition Exhibit 7 is a
24   information through other parties.                       24   document entitled -- I'm sorry. That should be 6.
25       Q. Like whom?                                        25   Let's make sure we have the right number on that now.

                                                         34                                                            36
 1      A. Well, like customers.                               1   That's actually Deposition Exhibit 6. Thank you.
 2      Q. Which customers?                                    2          Have you seen this Declaration before?
 3      A. I don't recall which ones specifically, but         3       A. Yes, I have.
 4   they certainly would have been -- there could have        4       Q. Did you draft this Declaration?
 5   been other manufacturers and GPOs, home care              5       A. I don't recall.
 6   companies. They would all refer to AWP and                6       Q. Do you remember when you first saw this
 7   oftentimes, you know, pull out printouts of their         7   Declaration?
 8   sheets, too, and say, "This is what Red Book's got.       8       A. Exactly, no.
 9   This is what First DataBank has," that kind of stuff.     9       Q. Did you provide the facts that are
10          So, it wasn't that I was a subscriber, but        10   contained in this Declaration?
11   I was presented that data by other people.               11       A. Yes, I did.
12      Q. When you received this First DataBank              12       Q. Can I refer you to paragraph 8 of your
13   information via third parties, when do you think that    13   Declaration? Do you see that?
14   process first began?                                     14       A. Yes, I do.
15      A. I would guess somewhere around 1995. I             15       Q. It says, "In addition to my direct
16   also should note that we're talking about -- we're       16   discussions with Baxter managers, I learned of
17   talking in generalities about information; we're not     17   Baxter's pricing and some of the specific acts alleged
18   talking about specifics.                                 18   in paragraphs 36 through 40 of our Complaint while
19          I also had direct contact with First              19   trying to help Kay Morgan, Manager of Editorial
20   DataBank when I was with Bayer. I was actually the       20   Services for First DataBank."
21   individual that submitted AWP information to First       21          Do you see that?
22   DataBank. So, I received requests from them along        22       A. Mm-hmm. Yes, I do.
23   with Medispan and Red Book as to, you know, what AWP     23       Q. So, let's go ahead and give you the
24   information we wanted published for several years.       24   Complaint.
25   So, I had direct contact back and forth on some          25

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 11 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         10 (Pages 37 to 40)
                                                          37                                                             39
 1               (Deposition Exhibit Number 7 was               1   pulled up from First DataBank in and around the time
 2               marked for identification.)                    2   the Complaint was filed or sometime earlier?
 3               (Document tendered to the                      3       A. I don't recall.
 4               witness.)                                      4       Q. Now, the next figure that I see that is new
 5   BY MR. JACKSON:                                            5   is "Medicare pays 80 percent of that sum, or $1.235."
 6      Q. I show you what's been marked as Deposition          6           Do you see that?
 7   Exhibit 7. Do you recognize Deposition Exhibit 7?          7       A. Can you show me again where you're quoting
 8      A. Yes, I do.                                           8   from?
 9      Q. Can I have you turn to paragraph 36 of the           9       Q. Sure, it's the sentence that begins, "Thus,
10   Complaint that is Deposition Exhibit 7? Are you           10   if the AWP for a drug is."
11   there?                                                    11           Do you see that? It's the end of the
12      A. Yes, I am.                                          12   fourth line of paragraph 36.
13      Q. It's on page 13 of the Complaint.                   13       A. Yes.
14      A. Yes, I am.                                          14       Q. You reference there the figure $1.548.
15      Q. All right. So, what components of the               15           Do you see that?
16   information contained in paragraph 36 of the Complaint    16       A. Yes.
17   did you receive from Kay Morgan?                          17       Q. Is that a number that you got from First
18      A. May I mark this document?                           18   DataBank, or did you simply calculate that number?
19      Q. Certainly.                                          19       A. That number does not come from First
20      A. (Indicating).                                       20   DataBank. That is a calculation.
21      Q. Can you read the information in paragraph           21       Q. In the next sentence, which reads,
22   36 that you gained from your discussion with Ms.          22   "Recombinate has been sold to providers for 89 cents
23   Morgan at First DataBank?                                 23   (or even less), making the spread, or the difference
24      A. Yes. In paragraph 36, the information that          24   between the actual acquisition cost of 89 cents and
25   I gained from Kay Morgan is as follows: "Baxter has       25   the Medicare payment of $1.235 equals 0.345."

                                                          38                                                             40
 1   reported to First DataBank that the WAC for                1          Do you see that?
 2   Recombinate is $1.30 per unit."                            2      A. Yes, I do.
 3       Q. Is that the only information in paragraph           3      Q. Did you provide the 89-cent sales price
 4   36 that you gained from Kay Morgan?                        4   there that is reflected in paragraph 36?
 5       A. Yes, it is.                                         5      A. Yes, I did.
 6       Q. Okay. Did you provide any of the other              6      Q. How did you come to have that data?
 7   information in paragraph 36?                               7      A. Based on Baxter contracts with Express
 8       A. Yes, I did.                                         8   Scripts.
 9       Q. Which?                                              9      Q. So, that was the price reflected in
10       A. I provided all of the remaining information        10   contracts between Baxter and Express Scripts?
11   in that paragraph.                                        11      A. It was. I can tell you that it was also
12       Q. So, how did you determine the number               12   reflective of prices available to Express Scripts for
13   $1.6250?                                                  13   Baxter product through Cardinal Health.
14       A. I determined that because it was the               14      Q. And how do you know that?
15   published AWP for Recombinate.                            15      A. How do I know that? I know that because I
16       Q. Where did you get that information?                16   had the pharmacy people at Express Scripts pull up the
17       A. First DataBank.                                    17   contract price between Express Scripts and Cardinal
18       Q. And when you say you got it from First             18   for Recombinate. And they provided me with that
19   DataBank, how did you get it from First DataBank?         19   information.
20       A. I don't recall at the time. I mean, if I           20      Q. When did you do that?
21   want to make it easy for you, I could go home and pull    21      A. Somewhere around that time period. I don't
22   it up right now because First DataBank provides a         22   remember exactly when.
23   history of AWPs.                                          23      Q. Which time period? About the time the
24       Q. So, I'm just trying to understand, sir, was        24   Complaint was filed?
25   this figure $1.625, was that information that you         25      A. Yes.

                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 12 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                        11 (Pages 41 to 44)
                                                          41                                                            43
 1      Q. Were you working for Express Scripts at the          1   38 of the Complaint?
 2   time?                                                      2      A. No.
 3      A. Yes, I was.                                          3      Q. Let me refer you to paragraph 39 of the
 4      Q. And you -- would you read back his last              4   Complaint, which is Deposition Exhibit 7.
 5   answer?                                                    5           Paragraph 39 begins with the following:
 6                (Record read as requested.)                   6   "According to knowledge obtained by relator Greg
 7   BY MR. JACKSON:                                            7   Hamilton, FDB refused to accept Baxter's 'list sales
 8      Q. So, to make sure I understand your                   8   price,' and instead submitted a letter stating that
 9   testimony, is it your testimony that while you worked      9   their list price was $1.31 and that they wanted their
10   at Express Scripts you asked someone at Express           10   AWP to be described as $1.31."
11   Scripts to contact someone at Cardinal for this           11           Do you see that?
12   information?                                              12      A. Yes, I do.
13      A. That is not correct. When I -- would you            13      Q. Did you provide that information to --
14   like me to try and explain?                               14      A. Yes, I did.
15      Q. Yes, please. Would you explain?                     15      Q. And was that information provided to you by
16      A. Sure. While I was working at Express                16   Kay Morgan?
17   Scripts I was in charge of a program of delivering        17      A. Yes, it was.
18   specialty products, hemophilia products, to patients.     18      Q. How is it that you had a conversation with
19   Consequently, I needed to know and did know the prices    19   Kay Morgan about Baxter?
20   that we at Express Scripts were paying to purchase        20      A. Kay called me and asked if I had any idea
21   those drugs. And we had several routes to go through,     21   why Baxter would be submitting information that they
22   channels of distribution in which to buy them.            22   knew was in a format that was unacceptable.
23          One of them was the Cardinal distribution          23      Q. When did this communication take place?
24   system, of which Express Scripts was a participant.       24      A. I don't remember exactly. I think it
25   So, I was aware through my normal business of what the    25   was -- I'd have to go back and look at the dates. I

                                                          42                                                            44
 1   prices were from Cardinal Health for all of the factor     1   just don't remember. But it was -- it was, I believe,
 2   products.                                                  2   within days of her having received the letter from
 3       Q. All right. Let me have you turn to                  3   Baxter.
 4   paragraph 37 of Deposition Exhibit 7, the Complaint.       4      Q. Do you know why Kay Morgan called you?
 5          Is there any information in paragraph 37            5      A. I can only speculate.
 6   that you gained through your communication with Kay        6      Q. What do you think?
 7   Morgan identified in your Declaration?                     7      A. I mean, I don't know.
 8       A. No.                                                 8      Q. She didn't tell you why she was calling
 9       Q. Where did that information come from?               9   you?
10       A. That information came from the CMS website.        10      MR. KLEIMAN: Calls for speculation.
11       Q. Okay. Thank you. Now let me direct your            11          Go ahead.
12   attention to paragraph 38.                                12   BY THE WITNESS:
13           I'm sorry. When did you access the CMS            13      A. I'm just saying I can -- I can only guess.
14   website to gain the information that's contained in       14   BY MR. JACKSON:
15   paragraph 37?                                             15      Q. What's your guess?
16       A. I don't recall.                                    16      A. My guess is that Kay believed I was a
17       Q. Was it about the time of the date of the           17   knowledgeable person particularly about the plasma
18   Complaint?                                                18   industry and about the factor industry. Kay and I had
19       A. Again, I don't recall. But if you want me          19   had several conversations about AWPs, about the
20   to estimate, I would say it was somewhere around that     20   industry. I was introduced to her by her superiors.
21   time.                                                     21          There was some issue -- Express Scripts is
22       Q. 2005, for example, or 2004?                        22   a large customer of First DataBank. And I was at a
23       A. Again, I would guess 2004 or 2005.                 23   meeting with the Chief Operating Officer, Chief
24       Q. Okay. Paragraph 38, did you provide any of         24   Financial Officer, some folks like that from First
25   the factual information that's contained in paragraph     25   DataBank at Express Scripts, and I brought up some

                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 13 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                        12 (Pages 45 to 48)
                                                         45                                                             47
 1   issue, I don't know what it was, but I know that three    1   Accredo. But it is a specialty pharmacy, otherwise
 2   or four of us scurried off into a separate conference     2   known as a home care company, in New Jersey.
 3   room because they were concerned about it, and they       3       Q. Can I have you turn to the page that is
 4   picked up the phone and called Kay Morgan.                4   marked GH000014 of that exhibit? Do you see those
 5            And we got on a conference call, and we          5   handwritten notes in the right-hand margin?
 6   discussed whatever that particular issue was, and they    6       A. Yes, I do.
 7   asked her to work with me to resolve it.                  7       Q. Do you recognize that handwriting?
 8            From that time forward every so often we         8       A. No, I do not.
 9   would talk. I'd call her or she'd call me just about,     9       Q. Is it your handwriting?
10   you know, things that were going on in the industry      10       A. It is not.
11   and whatever else.                                       11       Q. The format of pages GH14 and 15, the next
12            So, I think that when she received a letter     12   two pages, are different than the format before or
13   as she described from Baxter, that as she described      13   after. Do you know why?
14   it, it said, "We'd like our AWP to be $1.31 and our      14       A. No.
15   list price is $1.31," she was, like, "They know that I   15       Q. Did you make use of this document in
16   can't accept AWPs anymore. They know that. I deal        16   creating or preparing the allegations of the Complaint
17   with Baxter all the time."                               17   in this case?
18       Q. She said that?                                    18       A. No.
19       A. Yes. And she said, "I know that they know         19                 (Deposition Exhibit Number 9 was
20   that, and they know I need a WAC, not this list price    20                 marked for identification.)
21   thing. I need a WAC. So, why are they doing this?"       21                 (Document tendered to the
22            And she was calling me up, trying to get --     22                 witness.)
23   you know, trying to get an opinion as to why she was     23   BY MR. JACKSON:
24   receiving this type of communication from Baxter.        24       Q. Let me show you what has been marked as
25       Q. So, is all of the factual information             25   Deposition Exhibit 9. Deposition Exhibit 9 is a

                                                         46                                                             48
 1   specified in or included in paragraph 39 information      1   document produced to Baxter by you.
 2   that you gained from Kay Morgan?                          2          Have you ever seen this document before?
 3      A. Yes.                                                3      A. I'm gonna qualify this by saying -- my
 4                (Deposition Exhibit Number 8 was             4   answer is kind of yes. I guess I'm getting on the
 5                marked for identification.)                  5   legal side of this. You know, is this the exact
 6                (Document tendered to the                    6   document?
 7                witness.)                                    7      Q. This is the document that you produced to
 8   BY MR. JACKSON:                                           8   us, okay?
 9      Q. I show you what's been marked as Deposition         9      A. Right. Okay. Sure.
10   Exhibit 8. Deposition Exhibit 8 is a document            10      Q. Okay. Now, where did you get this
11   produced to Baxter by you.                               11   document?
12          Have you ever seen this document before?          12      A. This would be while I was at Express
13      A. Yes.                                               13   Scripts. And it was printed off a screen from the --
14      Q. What is this document?                             14   at Express Scripts.
15      A. It's financial information about and               15      Q. But this was in your possession and
16   provided by a company called Hemophilia Resources of     16   control, and that's why you produced this?
17   America.                                                 17      A. Yes.
18      Q. How did you come to acquire this document?         18      Q. Now, I presume since it says "Express
19      A. While I was working at Express Scripts I           19   Scripts" at the top, Express Scripts was probably the
20   worked on a project that involved Hemophilia Resources   20   subscriber at the time. Is that your belief?
21   of America.                                              21      A. It is my belief, yes.
22      Q. Who is or what is Hemophilia Resources of          22      Q. When did you leave Express Scripts?
23   America, Inc.?                                           23      A. Summer of 2006.
24      A. Hemophilia Resources of America, Inc. is           24      Q. Now, was this document, Deposition Exhibit
25   a -- no longer exists as such. It's been purchased by    25   9, used in preparing the Complaint in this matter?

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 14 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                       13 (Pages 49 to 52)
                                                        49                                                             51
 1      MR. KLEIMAN: Calls for speculation.                   1       A. This document was used to demonstrate that
 2          You can answer so far as you know.                2   Baxter did engage in rebate contracts.
 3   BY THE WITNESS:                                          3       Q. Okay. Is there anything wrong with
 4      A. My answer is I don't know. I mean, I don't         4   engaging in rebate contracts, a pharmaceutical company
 5   recall if I used this specific document or not.          5   having rebate contracts?
 6   BY MR. JACKSON:                                          6       A. Not at all.
 7      Q. Okay. Did you have any involvement in              7       Q. So, again, how was paragraph 10 used in
 8   drafting the Amended Complaint in this matter that is    8   conjunction with the Complaint, if you know?
 9   Deposition Exhibit 7?                                    9       MR. KLEIMAN: Do you mean Exhibit 10?
10      A. By "involvement," if you mean I provided          10       MR. JACKSON: Yes, I do. I'm sorry. Exhibit 10.
11   information, then yes.                                  11   BY THE WITNESS:
12      Q. Thus my question about Deposition Exhibit         12       A. Oh, okay. I can only repeat what I just --
13   9. Is there new information coming from Deposition      13   my previous answer. It was used to illustrate that
14   Exhibit 9 to your knowledge that was used in drafting   14   Baxter did indeed participate in rebate contracts.
15   the Complaint in this matter to your knowledge?         15           I suppose I could go even one step further.
16      A. Again I don't know.                               16   It also shows the manner in which Baxter calculated or
17                 (Deposition Exhibit Number 10             17   adjudicated these rebates, and that this was done,
18                 was marked for identification.)           18   obviously, on an Excel spreadsheet. So, this is
19                 (Document tendered to the                 19   separate and apart from the standard order entry
20                 witness.)                                 20   process, debit and credit inventory system that Baxter
21   BY MR. JACKSON:                                         21   would use and, therefore, separate and apart from its
22      Q. I show you what has been marked as                22   Medicaid Administrative Program.
23   Deposition Exhibit 10. Have you ever seen Deposition    23       Q. You've never worked for Baxter, correct?
24   Exhibit 10 before?                                      24       A. That is correct.
25      A. Yes, I have.                                      25       Q. So, you don't know how this spreadsheet

                                                        50                                                             52
 1       Q. What is this document?                            1   that is Deposition Exhibit 10 interacts in any way
 2       A. This is an Excel spreadsheet provided to me       2   with Baxter's order entry process, do you?
 3   by Baxter when again I was with Express Scripts.         3       A. I know how the industry works. And I don't
 4          If you notice, at the top it says,                4   believe Baxter's order entry process is on an Excel
 5   "Curascript." Curascript is a division of Express        5   spreadsheet, especially when this Excel spreadsheet
 6   Scripts. It's a specialty pharmacy. And this             6   was calculated incorrectly and I had to correct it.
 7   spreadsheet reflects a contract that existed between     7       Q. I'm asking you do you know how -- do you
 8   Baxter and Curascript for the purchase of Baxter         8   know how Baxter's order entry system works?
 9   products.                                                9       A. Not specifically, no.
10       Q. How is it that -- did you take this              10       Q. And do you know how Baxter's Excel
11   document with you when you left Express Scripts or      11   spreadsheet that you identified as Exhibit 10 works
12   Curascript?                                             12   with Baxter's order entry system?
13       A. Well, I had it in my possession. I don't         13       A. I do not know if it works with it or if
14   know if that's the same as "took with."                 14   it -- how it works with it. I don't even know if it
15       Q. Right. Was it your practice to take              15   does work with it.
16   documents with you when you left an employer?           16       Q. You have no knowledge of the internal
17       A. It was my practice to work out of my home.       17   workings at Baxter vis-à-vis calculations of rebates
18   Particularly from '04 to '06 working for Express        18   or pricing, correct?
19   Scripts I worked out of my home. And as such, I had     19       A. That is correct.
20   various documents and working materials in my home.     20           Let me correct that. When you say
21   This happened to be one of them.                        21   "calculations of rebates," do I have any knowledge of
22       Q. Was this document used in providing input        22   how Baxter calculates rebates internally? Well, the
23   to the Complaint in this matter?                        23   fact that as a customer I get my rebate information
24       A. To some extent, yes.                             24   that comes off an Excel spreadsheet tells me I know
25       Q. How?                                             25   something about it in that it's Excel

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 15 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         14 (Pages 53 to 56)
                                                          53                                                             55
 1   spreadsheet-driven, and the fact that when I went          1      MR. KLEIMAN: Calls for speculation.
 2   through this and recognized there were mistakes on it      2   BY THE WITNESS:
 3   and went back to the Baxter rep and said, "Hey, you've     3      A. No, I don't.
 4   got mistakes," as a matter of fact, they were in           4   BY MR. JACKSON:
 5   Curascript's favor, "you've made some errors on here,"     5      Q. If you go further into the document, go
 6   he responded with, "Oh, yeah. The guy running the          6   back to page GH000064, at the top there's also a fax
 7   Excel spreadsheet made a mistake. He moved a field         7   mark, it appears, and it says, "Patient Services,
 8   over. I'll have him correct it," that tells me             8   Inc."
 9   something about how they're adjudicating their             9          Do you know who Patient Services, Inc. is?
10   rebates.                                                  10      A. Yes, I do.
11      Q. When you say "adjudicating rebates," what           11      Q. Who are they?
12   do you mean by that?                                      12      A. Patient Services, Inc. is a non-profit
13      A. Well, calculating them. As you can see, in          13   organization in Virginia.
14   this particular situation different rebate tiers were     14      Q. And what do they do?
15   set up. If the customer purchases a certain amount of     15      A. They assist patients in reimbursement
16   product, they get a certain rebate. And if they hit a     16   issues.
17   certain goal, they get this rebate. This is set up        17      Q. Did you receive this document from Patient
18   prior to sales.                                           18   Services, Inc.?
19          And then after the sales period, whether it        19      A. I don't recall.
20   be a quarter or a year, Baxter sits down and looks at     20      Q. I'm sorry if you answered this question.
21   what those sales were, compares them to the -- you        21   When did you first see this document?
22   know, what was offered, and then calculates what          22      A. I don't recall. I did answer that. I just
23   rebate is due and issues a check.                         23   don't remember.
24      Q. Is there anything wrong with that process           24      Q. Did this document have any bearing or did
25   in your mind?                                             25   you use this document in any way to draft the

                                                          54                                                             56
 1        A. Nothing at all.                                    1   Complaint?
 2                (Deposition Exhibit Number 11 was             2       A. Again I don't recall.
 3                marked for identification.)                   3       Q. Why did you produce this document to us?
 4                (Document tendered to the                     4   Do you recall?
 5                witness.)                                     5       A. I don't know why it was produced to you.
 6    BY MR. JACKSON:                                           6   My best guess is I provided this to my attorneys as
 7        Q. Let me show you what has been marked as            7   background information about the hemophilia market.
 8    Deposition Exhibit 11. Deposition Exhibit 11 is a         8       Q. If you refer back to the front page of this
 9    document produced by you to us. At the top it says,       9   document, there are certain clauses, et cetera, that
10    "RBC Capital Markets." It's an article entitled, "The    10   are underlined.
11    Changing Paradigm In Hemophilia."                        11           Are those your markings?
12           Do you see that?                                  12       A. I don't know.
13        A. Yes, I do.                                        13                (Deposition Exhibit Number 12 was
14        Q. Have you seen this document before?               14                marked for identification.)
15        A. Yes, I have.                                      15                (Document tendered to the
16        Q. When did you first see this document?             16                witness.)
17        A. I don't know.                                     17   BY MR. JACKSON:
18        Q. At the top there is what appears to be a          18       Q. Let me show you what's been marked as
19    fax number. It says, "Algonquin."                        19   Deposition Exhibit 12. Deposition Exhibit 12 is a
20           Do you know what that is?                         20   news article produced by you to Baxter in this matter.
21        A. No, I don't.                                      21   It's a U.S. News article dated April 2, 2003. It's
22        Q. Do you have a fax number 847-960-7384?            22   entitled "Court: HMOs Can Be Made to Open Networks."
23        A. No, I don't.                                      23           Do you see that?
24        Q. Do you know how that mark got on the top of       24       A. Yes, I do.
25    this document that you produced to us?                   25       Q. Have you ever seen this document before?

                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 16 of 104
                                                        GREG HAMILTON
                                CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                     15 (Pages 57 to 60)
                                                       57                                                            59
 1      A. I don't recall it.                                1   BY MR. JACKSON:
 2      Q. Do you know what relevance this document          2       Q. I show you what's been marked Deposition
 3   has to the Complaint in this matter?                    3   Exhibit 14. Deposition Exhibit 14 is a State of Texas
 4      A. I would need to read it. Do you want me to        4   Notice of Intention to Take Oral Depositions. It's
 5   take a minute and read it?                              5   Exhibit 371 to the deposition of Kay Morgan. This
 6      Q. Well, I'm just curious have you read it           6   document was produced to us by you in this matter.
 7   before?                                                 7          Have you ever seen this document before?
 8      A. Again I don't recall.                             8       A. I don't believe so. I'm looking at it now,
 9      Q. Do you remember referring to this when you        9   but I don't recall ever seeing this before.
10   provided input for the Complaint in this matter?       10       Q. Do you recall reviewing this document in
11      A. I do not recall that.                            11   preparation of providing input for the Complaint in
12               (Deposition Exhibit Number 13 was          12   this matter?
13               marked for identification.)                13       A. No, I do not recall that.
14               (Document tendered to the                  14       Q. Let me have you turn to page GH000113 of
15               witness.)                                  15   that exhibit, please. There are markings on that
16   BY MR. JACKSON:                                        16   page. Some text has been underlined.
17      Q. Sir, I'm handing you Deposition Exhibit 13.      17          Do you see that?
18   Deposition Exhibit 13 is a Confidential Examination    18       A. Yes, I do.
19   Under Oath of Patricia Kay Morgan dated January 28,    19       Q. Is that your underlining?
20   2002. This document has Bates numbers GH000126         20       A. I don't believe so, but I don't know.
21   through GH000290.                                      21                 (Deposition Exhibit Number 15 was
22          Have you ever seen this document before?        22                 marked for identification.)
23      A. I think so.                                      23                 (Document tendered to the
24      Q. Under what circumstances have you seen this      24                 witness.)
25   document?                                              25

                                                       58                                                            60
 1       A. I think I may have a copy of it.                1    BY MR. JACKSON:
 2       Q. You'll note this document is identified as      2        Q. Let me show you what's been marked as
 3    "Attorneys' Eyes Only."                               3    Deposition Exhibit 15. Deposition Exhibit 15 is a
 4           Do you see that?                               4    document entitled "Deposition Summary Patricia Kay
 5       A. Yes.                                            5    Morgan Taken 11/13/02."
 6       Q. When did you first see this document?           6            Do you see that document?
 7       A. I have no idea.                                 7        A. Yes, I do.
 8       Q. How did you get this document?                  8        Q. Have you ever seen this document before?
 9       A. From my attorney.                               9        A. Yes, I believe I have.
10       Q. Is there anything to your knowledge in this 10           Q. When did you first see this document?
11    deposition that relates to Baxter?                   11        A. No idea.
12       A. I don't know.                                  12        Q. Were you given -- how did you acquire a
13       Q. And I'm sorry, sir. You said you have or 13          copy of this document?
14    have not read this document?                         14        A. It would have had to have been through my
15       A. I don't know.                                  15    attorneys.
16       Q. Did any information in this document           16        Q. Did you draft this summary or this
17    have -- strike that.                                 17    deposition summary?
18           Did you use any information coming from 18              A. No.
19    this examination; that is, Deposition Exhibit 13, in 19        Q. When were you provided this document?
20    preparing or drafting the Complaint?                 20        A. I have no clue.
21       A. No.                                            21        Q. Do you remember whether you were provided
22                 (Deposition Exhibit Number 14 was 22          this document prior to the date that the Complaint was
23                 marked for identification.)             23    filed in this case?
24                 (Document tendered to the               24        A. Again I don't know.
25                 witness.)                               25        Q. Mr. Hamilton, have you signed up to the

                         L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                        HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 17 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         16 (Pages 61 to 64)
                                                          61                                                             63
 1   terms of a protective order relating to the Texas          1   BY MR. JACKSON:
 2   depositions, particularly as relates to Kay Morgan's       2      Q. This was a single document produced to us
 3   deposition?                                                3   by you, sir.
 4       A. I don't know.                                       4      A. I mean, I'm looking -- just so you know,
 5       Q. Again I find no mention of Baxter in this           5   I'm looking at the Table of Contents on this, and it
 6   document. Did this document have -- did you review it      6   says it goes up to page 85. There's gotta be 500
 7   before drafting the Complaint in this matter?              7   pages here.
 8       A. The document you're talking about here is           8      Q. I understand.
 9   this Exhibit 15?                                           9      A. So, I'm saying I don't know what all is in
10       Q. Yes, sir.                                          10   here.
11       A. I don't even remember, you know, when I saw        11      Q. Again, Mr. Hamilton, this is a single file
12   it and when I've looked at it. So, I would have to        12   that was produced to us by you. And I'm just trying
13   tell you that it had nothing to do with me drafting       13   to understand what this document is.
14   the Complaint.                                            14      A. Okay.
15       Q. Okay. I apologize for doing this.                  15      Q. So, let's focus on --
16       A. To the tree.                                       16      A. I'm trying to do the same thing, by the
17       Q. To the trees.                                      17   way.
18                (Deposition Exhibit Number 16 was            18      Q. Sure.
19                marked for identification.)                  19      A. I'm trying to figure out what this
20                (Document tendered to the                    20   document -- I mean, I'm very familiar with the Market
21                witness.)                                    21   Research Bureau reports, okay?
22   BY MR. JACKSON:                                           22      Q. Let's start there. What is the Market
23       Q. I'm handing you what has been marked as            23   Research Bureau? What is it?
24   Deposition Exhibit 16.                                    24      A. Market Research Bureau is a company owned
25       MR. KLEIMAN: Let the record reflect we're             25   and operated by a man named Patrick Robert. Patrick

                                                          62                                                             64
 1   grunting and groaning.                                     1   is a former colleague of mine from Bayer Corporation.
 2   BY MR. JACKSON:                                            2   He was in the Marketing Research Department. He left
 3       Q. Deposition Exhibit 16 is a document                 3   Bayer.
 4   entitled "Survey on Hemophilia Care & Price Monitoring     4          I forget what year he started this thing,
 5   in the United States." The front cover of this             5   but he started his own company of market research to
 6   exhibit is called "Global Market Research Hemophilia."     6   provide information and data and research in an
 7          Do you see that?                                    7   area -- what's called an unaudited market, which, if
 8       A. Yes.                                                8   you're familiar with the plasma products at all, they
 9       Q. Have you ever seen this document before?            9   are what's called unaudited.
10       A. I -- just by the size of it I'd say no, but        10          And if you look at the pills and tablets
11   I don't know. Let me take a look and see what it says     11   side of the pharmaceutical industry, IMS does a great
12   inside.                                                   12   job of telling everybody -- IMS Health, an
13          Oh, this is a Market Research Bureau               13   organization, does a great job of providing data to
14   report. Sure. I don't remember it being this big.         14   the industry about, you know, what categories of drugs
15       Q. When do you think you first saw this               15   were sold, how many were sold, you know, AWPs, all
16   document?                                                 16   that stuff. And they provide all this sales
17       A. Oh, well, when you say "this document," are        17   information by zip code. They even provide stuff by
18   you referring to, you know, what is titled "Wave 10,      18   doctor.
19   April 2000" or are you talking about a Market Research    19          The biologics world doesn't have that type
20   Bureau report of this nature?                             20   of a service. And so, because that information was
21       Q. I'm talking specifically about this                21   missing, Patrick went out and founded his own company
22   document that is identified as GH000321 through           22   to provide that information to those people in this
23   GH001495.                                                 23   industry so they would have marketing information and
24       MR. KLEIMAN: I'm going to object as ambiguous.        24   data they could use for all their products. And
25   This contains multiple documents.                         25   that's what he did.


                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 18 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                        17 (Pages 65 to 68)
                                                          65                                                            67
 1       Q. Do you remember citing to the Market                1   we wanted to buy the current report. And the rest of
 2   Research Bureau in your Complaint?                         2   that information that's in paragraph 14 were her
 3       A. I don't specifically recall, but I believe          3   answers to my questions.
 4   it's in there.                                             4      Q. Okay. So, is it -- was it her answer that
 5       Q. Did you recently call the Market Research           5   there are presently 20 subscribers to Market Research
 6   Bureau in connection with this matter?                     6   Bureau reports?
 7       A. Yes, I did.                                         7      A. Yes.
 8       Q. Why did you call the Market Research                8      Q. Did you ask her any questions about
 9   Bureau?                                                    9   previous or prior year Market Research Bureau reports?
10       A. I called Patrick Robert because I wanted to        10      A. I asked her if they would be available.
11   find out, get some information from him.                  11   She said yes.
12           Do you want to know what information I was        12           I asked her, you know, about how much those
13   calling him for?                                          13   would cost, and she said, "You'll need to talk to
14       Q. I do.                                              14   Patrick, and Patrick's out of the country at the
15       A. I wanted to find out what he would charge          15   moment."
16   for some old reports and, you know, what he was           16      Q. But your Declaration says that she told you
17   currently charging for reports. Let me think what         17   how much things would cost.
18   else I asked him.                                         18      A. She told me how much a single issue was.
19           I think I just confirmed with him it was --       19      Q. That's today's issue?
20   I talked to both his assistant and to Patrick. I just     20      A. That's today's issue.
21   confirmed that their number of clients was small          21      Q. Not prior issues?
22   scale.                                                    22      A. Correct.
23       Q. Can I have you look back at your                   23      Q. Okay. And did you ask her what her
24   Declaration, please?                                      24   subscribers were or what Market Research Bureau's
25       A. Can you tell me what number that is?               25   subscribers were in years past?

                                                          66                                                            68
 1      MR. KLEIMAN: It's 6.                                    1      A. I'm not sure I understand your question.
 2      THE WITNESS: Okay.                                      2      Q. Sure. I thought you testified earlier that
 3   BY MR. JACKSON:                                            3   the $16,000 price and the 20 subscribers referred to
 4      Q. Can I refer you to paragraph 14?                     4   present day data?
 5      A. Yes.                                                 5      A. That's correct.
 6      Q. Okay. In paragraph 14 you specify -- of              6      Q. So, my question to you, sir, is did you
 7   your Declaration you specify "On September 13, 2009 I      7   also ask her about costs in 2002, for example, of
 8   called the Market Research Bureau and spoke with Cindy     8   reports?
 9   Lynn, Patrick Robert's secretary."                         9      A. No, I did not.
10          Did you just speak with Cindy Lynn, or did         10      Q. Or did you ask her about the number of
11   you speak with Mr. Robert?                                11   subscribers in 2002?
12      A. On September 13th I spoke with Cindy Lynn.          12      A. No, I did not.
13   Subsequently Patrick called me back. I don't know how     13      Q. Now, let me refer you back to the Market
14   many days later it was, but at some point he called       14   Research Bureau exhibit that is Exhibit 16.
15   back and we had further discussions about it.             15      A. Can I put this away?
16      Q. All right. So, let's talk about your                16      Q. You probably ought to leave it right there.
17   conversation with Cindy Lynn.                             17      A. Okay.
18          What did you ask her?                              18      Q. You're referring back to -- can I have you
19      A. I asked her questions that generated these          19   look to page GH000323?
20   answers. So, like I said just a minute ago off the        20          Actually, maybe I'll make this easier. If
21   top of my head that I had called and I wanted to find     21   you pull out Deposition Exhibit 7, which is your
22   out what a subscription to this would cost.               22   Complaint in this case, --
23      Q. So, is the subscription that you refer to           23      A. Got it.
24   in paragraph 14 of your Declaration today's prices?       24      Q. -- paragraph 29 refers to a 2001 Market
25      A. Yes. That was the price she quoted me if            25   Research Bureau report called "The Plasma Fractions

                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 19 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                       18 (Pages 69 to 72)
                                                         69                                                            71
 1   Market in the United States."                             1          Do you see that?
 2          Do you see that?                                   2       A. Yes, I do.
 3      A. Yes, I do.                                          3       Q. So, is it your understanding that Market
 4      Q. Did you make use of a 2001 Market Research          4   Research Bureau takes public information, recompiles
 5   Bureau report in preparing your Complaint?                5   it and uses that to create their report?
 6      A. Yes. I might add I probably used several            6       A. No.
 7   years of the Market Research Bureau reports. I don't      7       Q. Isn't that what it says?
 8   know exactly what years I've got at home, but --          8       A. It says, "analysis of information generally
 9               (Deposition Exhibit Number 17 was             9   available to the public or released by responsible
10               marked for identification.)                  10   individuals in the companies mentioned."
11               (Document tendered to the                    11           And I believe, if I had to put a number on
12               witness.)                                    12   it, probably 95 percent of the information contained
13   BY MR. JACKSON:                                          13   in the Market Research Bureau is not available to the
14      Q. Let me show you what has been marked as            14   public. It is this latter part "released by
15   Deposition Exhibit 17. Deposition Exhibit 17 is a        15   responsible individuals in the companies mentioned."
16   2001 Market Research Bureau report.                      16       Q. But doesn't it --
17          Do you see that?                                  17       A. If it was available to the public, you
18      A. Yes, I do.                                         18   wouldn't need the report.
19      Q. Is that the report that you referred to in         19       Q. Couldn't it be that they are simply taking
20   your Complaint?                                          20   public information from a variety of sources and
21      A. Yes, it is.                                        21   compiling it, putting it together to resell to the
22      Q. And I believe you also testified that you          22   general market?
23   may have reviewed other Market Research Bureau reports   23       A. In this case, no, because let's remember
24   in preparing the Complaint?                              24   that the reason he formed this company was because
25      A. Yes.                                               25   that information isn't available.

                                                         70                                                            72
 1      Q. Would that include the Market Research              1      Q. Do you also see in that initial disclosure
 2   Bureau document that is Deposition Exhibit 16?            2   the second sentence, "It does not contain information
 3       A. It could.                                          3   provided in confidence by our clients"?
 4      Q. You don't remember?                                 4          Do you see that?
 5       A. I don't remember specifically which ones.          5      A. I do.
 6   I mean, this one is dated April 2002 and the Market       6      Q. Now, how much of any of these Market
 7   Research Bureau reports typically provide historical      7   Research Bureau reports did you rely upon in preparing
 8   data, too. So, at this moment exactly which piece of      8   the factual information contained in the Complaint?
 9   information I pulled from which report I don't know.      9      A. I don't know.
10      Q. Did you --                                         10                 (Deposition Exhibit Number 18 was
11       A. But I can also -- let me offer you                11                 marked for identification.)
12   something here.                                          12                 (Document tendered to the
13          No, never mind. Go ahead.                         13                 witness.)
14      Q. How did you obtain Deposition Exhibits 16          14   BY MR. JACKSON:
15   and 17?                                                  15      Q. Let me show you what's been marked as
16       A. I'm not sure.                                     16   Deposition Exhibit 18.
17      Q. Did Miss Sun give these to you?                    17      A. I was going to say, if we're getting near a
18       A. No.                                               18   point, I'd like to take a bathroom break when we get a
19      Q. If you look at the front page of Deposition        19   chance.
20   Exhibit 17, which is "The Plasma Fractions Market in     20      MR. JACKSON: Sure. Let's do that right now.
21   the United States 2001," it includes the following:      21                 (Recess.)
22   "The contents of this study represent our analysis of    22   BY MR. JACKSON:
23   information generally available to the public or         23      Q. Mr. Hamilton, let me show you what's been
24   released by responsible individuals in the companies     24   marked as Deposition Exhibit 18.
25   mentioned."                                              25          Have you ever seen Deposition Exhibit 18

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 20 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                        19 (Pages 73 to 76)
                                                         73                                                             75
 1   before?                                                   1   or two years and the AWP changed three times in that
 2       A. I think so.                                        2   period, that could have severe financial implications
 3       Q. Can you explain to me what Deposition              3   on either party that's in the contract.
 4   Exhibit 18 is?                                            4          So, I believe this is a document that was
 5       A. Well, I can take my best guess.                    5   one of those produced just to show people the changes
 6       Q. Okay.                                              6   in AWP.
 7       A. I mean, obviously it's a -- you know, the          7       Q. So, do you believe you created this
 8   title is "Summary of First DataBank Information on        8   document or had it created while you were at Express
 9   Selected Drugs." And I believe what the --                9   Scripts?
10       Q. Did you create this document?                     10       A. It looks like something that I would have
11       A. I personally didn't, but I may have               11   had done while I was at Express Scripts.
12   directed someone to create it.                           12       Q. Did you rely upon or use this document in
13       Q. And what was the purpose of creating this         13   preparing the Complaint in this matter?
14   document?                                                14       A. Not per se.
15       A. Again if it's the document I'm thinking of,       15       Q. When you say "per se," that's a qualifier.
16   you know, because this is a little bit out of context,   16       A. Yeah, it is. Not specifically. I think
17   but as best I can guess, this looks like a comparison    17   that one -- and I don't know how well it's spelled out
18   sheet that I would have used -- let me try and put it    18   in the Complaint, but one of the issues with AWP, and
19   in context and explain.                                  19   I assume you're unbelievably familiar with AWP at this
20            When I was with Express Scripts, so this is     20   point, is that both prior to 2001 and after 2001 AWPs
21   when I was a customer of Baxter's and all the other      21   could be changed in this industry sort of willy-nilly
22   factor manufacturers, I was responsible for              22   at the manufacturer's whim depending on market
23   contracting with various health plans for fulfillment    23   circumstances, whatever they wanted to do. It was
24   of specialty prescriptions.                              24   very easy to initiate a change in AWP, and you could
25            And one of the things that I did in the         25   make it whatever you wanted.

                                                         74                                                             76
 1   contracting process was to -- you know, we -- we sold     1          And because of that, it was necessary for
 2   the product at prices -- we billed the customer at        2   me in a contracting position to make sure that I
 3   some discount off of AWP.                                 3   noted, hey, AWP's changed. And I would say that --
 4       Q. Who billed it?                                     4   again, I'm telling a customer I'm putting this
 5       A. Express Scripts, or Curascript, a                  5   footnote in because they do change and they don't
 6   subdivision of it. So, we would bill some discount        6   necessarily make any sense when they change and they
 7   off of AWP.                                               7   may or may not affect the actual acquisition price.
 8          And, of course, we would footnote that the         8   Oftentimes they don't. It's just the AWP changes.
 9   AWP we used was that of First DataBank because there      9   So, this was done, I think, more as an educational
10   are two other data banks you could be using. So, you     10   piece to explain why.
11   wanted to specify, especially under a contract, which    11          So, when you say was it relied upon, I
12   data bank you're using.                                  12   don't believe specifically, but the idea or the
13          And I also would add to the contracts, to         13   concept is certainly part of it, is that AWPs, you
14   the footnotes, that if the AWP should change during      14   know, fluctuated with sort of the wind or, you know,
15   the contract period, that we reserved the right to       15   whatever a manufacturer felt they needed at that given
16   also change the rate, what we were charging. And in      16   point in time.
17   some circumstances I put together or had other people    17       Q. So, why is that -- I'm sorry.
18   for me put together things like this to show internal    18          Is that document then relevant to the
19   customers and the people within Express Scripts what     19   allegations of the Complaint in this case?
20   was going on, and also people outside of Express         20       A. Again I'm saying it's not necessary to the
21   Scripts, the reason and the need for having that kind    21   Complaint.
22   of language in a contract because of the changes in      22       Q. Was it used to make any allegations in the
23   AWP that exist in the marketplace.                       23   Complaint?
24          So, you wouldn't -- you know, if you locked       24       A. I don't believe so. I hope -- Mark's
25   into a particular AWP minus such-and-such for a year     25   probably looking at me like, oh, just be quiet, but

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 21 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         20 (Pages 77 to 80)
                                                          77                                                             79
 1   I'm trying to give you as much information, you know,      1   notes or comments or marks.
 2   to make this easy for all of us to understand.             2      A. It looks like it says, "Plus?"
 3      Q. I appreciate that.                                   3          Oh, you want me to try to interpret that
 4      A. So, if I talk too much, just tell me to              4   for you in Greg hieroglyphics?
 5   shut up.                                                   5      Q. I would.
 6      MR. KLEIMAN: How about you? Do I get to tell            6      A. That probably means meeting with Baxter,
 7   you?                                                       7   Royal and possibly somebody else.
 8      THE WITNESS: You don't get to tell me.                  8      Q. Okay. And where were you meeting with
 9               (Deposition Exhibit Number 19 was              9   Royal on January 24th, 2005?
10               marked for identification.)                   10      A. I don't know.
11               (Document tendered to the                     11      Q. Did you meet with them then?
12               witness.)                                     12      A. I can't say for certain. Typically if
13   BY MR. JACKSON:                                           13   there's something like this in my appointment book and
14      Q. All right. Mr. Hamilton, I want to show             14   the appointment is cancelled, it will be scratched
15   you what's been marked as Deposition Exhibit 19.          15   out. So, I would say I probably did.
16   Deposition Exhibit 19 is a document produced to Baxter    16      Q. Do you remember what the subject of your
17   by you.                                                   17   meeting was at that time?
18         Have you ever seen this document before?            18      A. No.
19      A. Yes, I have.                                        19      Q. All right. Let's go to the next page,
20      Q. Can you explain what this collection of             20   GH001498.
21   pages are?                                                21          Do you see that?
22      A. Yeah. These are photocopies of my                   22      A. Mm-hmm.
23   appointment books going back through the years.           23      Q. There is on that page what appears to be
24      Q. Okay. How far back do you have appointment          24   the name "Royal Stuart."
25   books?                                                    25          Do you see that?

                                                          78                                                             80
 1      A. I'm not sure exactly, but I'd say probably           1      A. Mm-hmm.
 2   1993.                                                      2      Q. What's the word after that?
 3      Q. Do you still have these original documents?          3      A. I don't know for certain, but if I had to
 4      A. Yes.                                                 4   guess, it looks like "10 a.m."
 5      Q. In your possession or in your counsel's              5      Q. What are the words below that?
 6   possession?                                                6      A. "Noon Steve."
 7      A. In my possession.                                    7      Q. Do you know what that means?
 8           Well, let me -- when you say "original             8      A. That means I had a meeting at noon with
 9   documents," I have the actual appointment books in my      9   Steve.
10   possession. I made photocopies of all these pages and     10      Q. Do you know who Steve is?
11   sent them to Mr. Kleiman, who has those in his            11      A. No.
12   possession.                                               12      Q. Did you meet with Royal Stuart on January
13      Q. I understand. I'm asking about the                  13   19th, 2005?
14   originals because we may want to see the originals.       14      A. Again, my appointment book says I had an
15   So, I'd ask you not to destroy or otherwise get rid of    15   appointment with him. That means I probably kept that
16   the original documents.                                   16   appointment.
17      A. I'll keep the shoebox intact.                       17      Q. What was the subject of the appointment; do
18      Q. All right. Let's look at the first page of          18   you know?
19   Deposition Exhibit 19. The first page of Deposition       19      A. Don't know.
20   Exhibit 19, which appears to be a calendar date of        20      Q. If it occurred, do you remember what was
21   January 24, 2005, has the word "Baxter."                  21   said during that appointment?
22           And then can you tell me what the word is         22      A. No, I do not.
23   after that?                                               23      Q. All right. Can you please go to the next
24      A. Sure. "Royal."                                      24   page, GH001499? Are you there?
25      Q. And what's after that? There is some other          25      A. I'm there.


                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 22 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         21 (Pages 81 to 84)
                                                          81                                                             83
 1      Q. I see what appears to be "NHF 4-5-6."                1   okay? I'm just trying to say if it's in the
 2          Do you see that?                                    2   appointment book and it's not scratched out, that
 3      A. Yes, I do.                                           3   means I believe I had that meeting. If you say to me,
 4      Q. Can you explain that to me?                          4   "Are you absolutely certain that that meeting
 5      A. Yeah. That means that I was in a meeting             5   occurred," well, no.
 6   in Dallas at the Hyatt. It was the National                6      Q. And I need to know what occurred at that
 7   Hemophilia Foundation meeting, the 4th, 5th and 6th,       7   meeting.
 8   obviously, of November.                                    8      A. And my answer on that one is I don't know.
 9      Q. And what year was that?                              9      Q. Can you turn to the next page, GH001501?
10      A. Good question. '04.                                 10      A. Yes.
11      Q. I note on that same page something has been         11      Q. Can you read that for me on that calendar
12   blacked out or redacted.                                  12   date?
13          Do you see that?                                   13      A. Yes. "Noon Jeff Beck Millennium Grill."
14      A. Yes, I do.                                          14      Q. Who's Jeff Beck?
15      Q. Can you tell me why something was redacted          15      A. Baxter rep.
16   on that page?                                             16      Q. Do you remember what you and Jeff Beck
17      A. Specifically I can't. Generally do you              17   discussed that day?
18   want --                                                   18      A. No, I do not.
19      Q. Sure. Why generally are there redactions            19      Q. Mr. Hamilton, I'll make this a little
20   throughout these pages?                                   20   easier maybe. Several of the pages of your calendar
21      A. I would say that's probably some personal           21   pages here mention things like NHF.
22   notation, something that had nothing to do with Baxter    22          What does NHF mean?
23   or this case.                                             23      A. National Hemophilia Foundation meeting.
24      Q. Okay. Can I have you turn to the next               24      Q. Okay. If I ask you what happened, for
25   page, GH001500? Can you read what it says at the top      25   example, at the National Hemophilia Foundation meeting

                                                          82                                                             84
 1   of that page?                                              1   that is on GH001502, will you be able to tell me what
 2       A. If you're referring to the part under               2   occurred during that meeting?
 3   "Monday" where it says, "Baxter 1 p.m."?                   3      A. Specifically, no.
 4       Q. Yes.                                                4      Q. And will you be able to tell me what
 5       A. Oh, yeah. Okay. This says, "Baxter 1 p.m.           5   occurred at any of the meetings that are identified in
 6   North to Lake-Cook Road."                                  6   any of these calendar pages?
 7           What that means is that I was meeting with         7      A. There may be -- generally speaking the
 8   Baxter at their facility in Chicago.                       8   answer is no.
 9       Q. Okay. Who did you meet with that day?               9           There may be one or two where I would be
10       A. That particular day I can't say for                10   able to say -- for example, if you look at 1506,
11   certain. Typically if I was at Baxter's headquarters,     11   Friday, August 16th, where it says, "Slides to
12   Pete O'Malley would have been there. But it could         12   Baxter," okay? And it was just 10 days before that we
13   have been -- who else was with him I wouldn't know for    13   have a -- I have a notation for a Baxter conference
14   sure.                                                     14   call.
15       Q. Do you have a specific memory what occurred        15           The slides going to Baxter would have been
16   on that day, if that meeting actually occurred?           16   my what I call PBM 101 slides. This is where we were
17       A. Was that two questions?                            17   discussing things about PBMs and what their
18       Q. I'll start over.                                   18   involvement in the specialty pharmaceutical market's
19           Do you remember having a specific meeting         19   gonna be. And I had a slide presentation that
20   on that day?                                              20   described, you know, some just general stuff about how
21       A. I do not know if it actually occurred. I           21   PBMs operate.
22   believe that's where you're going. You want me to         22           So, again, we can go back and say that,
23   say, right?                                               23   well, that means that probably Wednesday, February 5th
24       Q. I'm just trying to assess --                       24   was a discussion about PBMs in the specialty pharmacy
25       A. And I'm trying to answer you honestly,             25   market and how it applies to both IGIV and to


                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 23 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         22 (Pages 85 to 88)
                                                          85                                                             87
 1   hemophilia products.                                       1   developed his knowledge of Baxter's practices from his
 2          And the following one that says "Slides"            2   intimate familiarity with the industry, but had no
 3   would have been I sent them the deck, the slide deck.      3   opportunity to develop documentary evidence."
 4          However, other than that -- let me help             4          Do you see that?
 5   you. Other than that, for these entries where it says      5       A. Yes, I do.
 6   Baxter this, NHF that or whatever, it merely indicates     6       Q. Does this help you remember whether you met
 7   that I had a meeting scheduled with them. And I can't      7   with Justice Department lawyers at any time prior to
 8   say that it actually happened for certain. And what        8   the date the Complaint was filed?
 9   the subject was I can't say for certain, either.           9       A. No, it doesn't.
10          Does that help?                                    10       Q. Okay. And is the same -- is that your same
11      Q. It does. Thank you.                                 11   answer with regard to meeting with representatives of
12          Let's go to GH001502, "NHF."                       12   the various states that are identified in your
13          Can you tell me what year this is?                 13   Complaint?
14      A. I have a notation at the top that says '03.         14       A. Yes.
15      Q. Okay. That handwritten note at the top is           15       Q. It doesn't help you?
16   your note?                                                16       A. No. I mean, if you're -- I'll try and
17      A. My handwriting, yes.                                17   offer you some help on this to at least put it in
18      Q. And was that created when you made the              18   context.
19   copies of this?                                           19          In the course of my job working with
20      A. Yes. And I did that, obviously, because             20   various qui tam lawyers, it's quite common for me to
21   this particular page of the appointment book didn't       21   meet with state and FUCU units and the DOJ people
22   have the year on it.                                      22   and -- the National Association of Medicaid Fraud and
23      Q. Okay. Where were you employed at the time?          23   Control Units -- and to meet with them on behalf of
24      A. In 2003?                                            24   clients. So, I do that all the time.
25      Q. 2003.                                               25          So, when you say, well, go back a couple

                                                          86                                                             88
 1       A. I was an employee of Express Scripts.               1   years, and when did you meet with them, that's why I'm
 2   That's when I was a customer of Baxter's.                  2   going I don't know.
 3       Q. Right.                                              3      MR. JACKSON: Okay. Let's go off the record.
 4                 (Deposition Exhibit Number 20 was            4              (Discussion off the record.)
 5                 marked for identification.)                  5              (Whereupon, at 12:48 p.m., the
 6                 (Document tendered to the                    6              deposition was recessed, to
 7                 witness.)                                    7              reconvene at 1:30 p.m., this same
 8   BY MR. JACKSON:                                            8              day, January 21, 2010.)
 9       Q. Mr. Hamilton, let me show you what's been           9
10   marked as Deposition Exhibit 20. Deposition Exhibit       10
11   20 is an April 22, 2005 letter from Mr. Kleiman to the    11
12   Attorney General and Michael Theis.                       12
13           Do you see that?                                  13
14       A. Yes, I do.                                         14
15       Q. Have you ever seen this document before?           15
16       A. I believe I have.                                  16
17       Q. It says in the second -- I'm sorry -- in           17
18   the first sentence, "I am pleased to forward to you       18
19   the Complaint along with this statement disclosing all    19
20   material evidence. The immediately available evidence     20
21   is scant. Only one of the two relators, Ms. Linnette      21
22   Sun, was employed by Baxter, and her opposition to the    22
23   practices described herein led to Baxter firing her       23
24   and giving her no opportunity to preserve documentary     24
25   evidence. The other relator, Mr. Greg Hamilton,           25


                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 24 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         23 (Pages 89 to 92)
                                                          89                                                             91
 1                  (Whereupon, the deposition                  1          Pete O'Malley had asked me to come out and
 2                  resumed at 1:36 p.m.)                       2   discuss contracting issues. He brought into the room
 3                  GREG HAMILTON,                              3   people that he identified as Baxter contracting --
 4    called as a witness herein, having been previously        4   people who work in their Contracting Department. And
 5    duly sworn and having testified, was examined and         5   he asked me to go through and explain to them how 340B
 6    testified further as follows:                             6   pricing worked, how it was calculated and
 7               EXAMINATION (Resumed)                          7   administered. And I did that.
 8    BY MR. JACKSON:                                           8      Q. Now, is any of the information that took
 9        Q. Mr. Hamilton, can I refer you back to              9   place in that meeting regarding 340B the subject of
10    Deposition Exhibit 6, your Declaration, please?          10   any of your claims in this Complaint that is Exhibit
11        A. Yes.                                              11   7?
12        Q. In paragraph 2, the final sentence, you           12      A. No, not specifically.
13    refer to, "Those meetings specifically concerned the     13      Q. In paragraph 4, the first sentence is the
14    pricing of several of the Baxter products discussed in   14   following: "While serving in those positions I
15    the Complaint."                                          15   frequently met with Baxter's senior management to
16            Do you see that?                                 16   discuss the market for hemophilia products."
17        A. Yes, I do.                                        17          Do you see that?
18        Q. What pricing were you referring to?               18      A. Yes, I do.
19        A. The ones -- and again, pricing is a big           19      Q. Do you remember specific conversations you
20    subject. We had discussed -- let me read the             20   had with senior management regarding hemophilia
21    paragraph first.                                         21   product pricing?
22                  (Short interruption.)                      22      A. Well, --
23    BY THE WITNESS:                                          23      Q. I'm sorry. The market for hemophilia. You
24        A. Again, "pricing" is kind of a big word.           24   don't say "pricing" there. You say, "market."
25    So, when I refer to "pricing," I'm referring to the      25      A. Yes. There is one conversation that I do

                                                          90                                                             92
 1   price that Baxter was selling to me as a client.           1   remember very specifically. I'll address the others
 2   BY MR. JACKSON:                                            2   after I address this first one.
 3       Q. At Express Scripts?                                 3          And that was -- it was when we met with
 4       A. That is correct. So, of course, some of             4   Larry Guiheen. And this was -- oh, I'm going to guess
 5   the stuff would have been basically, you know,             5   this was within six months of Advate's launch. And I
 6   contract negotiations. Certainly part of -- you know,      6   met with Larry at some sort of a trade show. It could
 7   with every price of what a customer or a manufacturer      7   have been NHF. But I do remember it was in an exhibit
 8   sells their drug for there's also the accompanying AWP     8   hall. I can picture where we were.
 9   that goes along with that.                                 9          So, we were in an exhibit hall, and we were
10           In addition to that, we also discussed on         10   talking about Advate. I expressed to Larry that my
11   several occasions what's called PHS, otherwise known      11   opinion that they had come out with, they'd launched
12   as 340B pricing.                                          12   with too high of a premium for Advate over their other
13       Q. All right. So, let's --I understand when           13   product and the comparable products, the recombinant
14   you refer to some of those communications referred to     14   products, and that they came out just too high and
15   the price to Express Scripts. What was your               15   they needed to drop that price.
16   communication with Larry Guiheen or Peter O'Malley        16          And I felt that his uptake on conversions
17   regarding AWP?                                            17   from other factor products to Advate was being
18       A. I actually -- I mean, I can't tell you any         18   inhibited by the extensive or excessive margin. You
19   specific time and exactly what we talked about.           19   know, they were charging too much for it in comparison
20       Q. Okay. With regard to the PHS, the 340B             20   to the other drugs.
21   pricing, can you tell me what you discussed with these    21          And I remember suggesting, you know, if you
22   gentlemen as you reference in paragraph 2?                22   could just drop that 7 or 8 cents or whatever the
23       A. I can. There was one particular time, and          23   number was at the time, I think that you could reduce
24   I can't tell you what the date was, but it was one of     24   the differential to where it's not a deal breaker for
25   the meetings I had at Baxter headquarters.                25   insurance companies and people aren't gonna go, "Wait


                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 25 of 104
                                                        GREG HAMILTON
                                  CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                         24 (Pages 93 to 96)
                                                          93                                                             95
 1   a minute. 15 cents a unit times a couple hundred           1   it a second thought in terms of paying.
 2   thousand units a year, prove to me that Advate's that      2           And so, therefore, they'd be able to
 3   much better," which, of course, would be a very            3   convert patients from current therapies, whether it be
 4   difficult thing to do because it's a conceptual issue.     4   theirs or someone else's, to Advate more rapidly than
 5          So, I made that point, and I said, "If you          5   what they were doing.
 6   could get it down to where it's, you know, 5 cents, 6      6       Q. Okay. So, from your perspective you did
 7   cents, I don't think you'd have the push back and you      7   not believe that the market price of Advate, the new
 8   could convince the patients, you know, to recommend or     8   therapy, that the delta was not justified by the
 9   to ask their doctor for a switch and that they could       9   difference in the products?
10   then get it through the insurance companies."             10       A. Yes. But let me say justified in the minds
11          So, that was one very, very specific               11   of the people who were actually paying the bill, the
12   discussion we had on pricing. It was of Advate.           12   payers, okay? And the delta was so large that it got
13       Q. Do you remember when Advate launched?              13   their attention. And that was the key. First of all,
14       A. Yeah. It was, like, spring of 2003, summer         14   it got their attention. The delta was so large that
15   of 2003, somewhere in there.                              15   it jumped out, you know.
16       Q. And when you say "launched," do you mean           16           And all of a sudden the claims were bigger
17   actually can start making sales?                          17   than they were before and the dollar signs caught
18       A. Yeah. I forget the approval date, but we           18   their attention. That brought scrutiny to the
19   can look that up. I think it was approved in, I don't     19   product. And that made people then question is this
20   know, April, May, something like that. But there          20   new product worth that much more than what the other
21   wasn't a great delay from when it was approved to when    21   one is?
22   it was launched. It was probably, I don't know, two       22           And, of course, Baxter was standing up
23   months at the most.                                       23   straight and saying, "Recombinate's a very safe drug
24      Q. Okay. And when you say -- this is my term,          24   and it treats Factor VIII." And they were saying all
25   my phrase, "uptake or uptick over its other products,"    25   these wonderful things about Recombinate. As a matter

                                                          94                                                             96
 1   did you mean the price that Baxter would sell to the       1   of fact, they were saying the same thing about the
 2   market over the price it would sell to the market for      2   plasma products. Yeah, plasma products are perfectly
 3   Recombinate?                                               3   safe. Recombinate's perfectly safe.
 4       A. Yes. The difference -- what I was trying            4           Okay. Why do you want to spend 15, 20,
 5   to point out was that the difference -- Recombinate        5   20-some cents more for another safe product? Does it
 6   was selling for, let's say, 89 cents at the time. And      6   treat the bleed any better? Well, no. Well, then,
 7   when they launched Advate, it came out as a buck 15        7   why this huge premium?
 8   ballpark. And so, the difference between 89 cents and      8           And that -- again, the delta was so big
 9   $1.15 was just too great.                                  9   that it was getting insurance companies', what I call
10       Q. For what?                                          10   payers, attention, and it was inhibiting their
11       A. For universal acceptance, for insurance            11   conversion rate.
12   companies, for payers to say, "Yeah, it's worth it.       12      Q. Conversion rate, again just to understand,
13   I'll pay that much more." Because if they're going to     13   you mean converting from some other form of factor up
14   pay an extra 20 cents a unit and patients are using       14   to Advate?
15   anywhere from a hundred thousand to a million units a     15      A. Let's not say "form" because then you get
16   year, that turns out to be a lot of dollars. And it       16   into whether it's Factor VIII or Factor IX.
17   got people's attention.                                   17      Q. I don't mean that.
18          So, the difference was so great -- it's            18      A. I don't, either, but I just want to be
19   kind of like pricing that's called the noticeable         19   clear. From some competitor, let's say, including
20   difference curve. It was the same thing. It was so        20   themselves.
21   noticeable that it got attention.                         21      Q. Got it. Switching from a previously used
22          Had the number been smaller, it would have         22   product to Advate?
23   passed through without people scrutinizing it and         23      A. Factor VIII product to Advate, yes.
24   more -- and patients would have been accepted and         24      Q. Okay. I understand.
25   insurance companies wouldn't have even probably given     25           All right. In paragraph 4 the third line

                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 26 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                       25 (Pages 97 to 100)
                                                         97                                                             99
 1   up, fourth line up, it says, "I also made at least        1   give you an example, in which you and Miss Sun allege
 2   three trips to Baxter's Deerfield, Illinois offices to    2   that Baxter has violated certain provisions of the
 3   meet with Baxter managers to discuss pricing."            3   various state laws and federal laws beginning in 1998.
 4          Now, you've already told me about the 340B         4           Yet in Exhibit 21, page 2, you seem to say
 5   conversation. And that's kind of in the next several      5   that your Complaint is based upon events that first
 6   sentences.                                                6   occurred in 2000. Second sentence, paragraph 3, third
 7          Do you remember what the other two meetings        7   full paragraph: "This scheme was based on FDB's 2000
 8   were about?                                               8   consent decree with the Department of Justice, and
 9      A. Not specifically, no.                               9   consequently could not have been publicly disclosed in
10      Q. Okay. If you turn to paragraph 6, you              10   any of the earlier filed Complaints cited by Baxter."
11   reference it this paragraph 6 of your Declaration that   11           Do you see that?
12   is Deposition Exhibit 6, you reference a meeting with    12       A. Yes, I do.
13   Larry Guiheen about Baxter's pricing of Advate.          13       Q. So, are you complaining about events that
14          Is this the conversation that you and I           14   occurred prior to 2000, or are you complaining about
15   just had about the moving -- what's a good way to        15   events that occurred after this 2000 date?
16   describe the conversation we had? A marketing issue?     16       A. You know, you referenced the 1998 stuff.
17      A. It's pricing and marketing.                        17   It is in the sections -- and I just have to defer to
18      Q. Okay.                                              18   Mr. Kleiman on that because all that legal stuff was
19      A. And yes, that is the conversation I'm              19   his. I just put, you know, put in what I knew.
20   referring to.                                            20       Q. And all I want to understand is what you
21      Q. Okay. Got it.                                      21   believe. Mr. Kleiman and I will have lots of
22          In paragraph 7 you refer to your time at          22   conversations about these issues.
23   Express Scripts and Curascript and you talk about how    23           But when I look at the Complaint, I see
24   you, quote, interacted with Baxter's pricing managers,   24   allegations that relate back prior to 2000. Yet in
25   close quote.                                             25   your Opposition, which is Exhibit 21, it seems to

                                                         98                                                            100
 1          Do you have any specific memory of pricing         1   premise the allegations on something that occurred in
 2   conversations then?                                       2   2000.
 3      A. No.                                                 3          Which is it to your knowledge?
 4      Q. And in the last sentence of paragraph 7 you         4      A. Page 2 that I refer to says, "Relators'
 5   also reference, quote, numerous discussions with them     5   allegations are based on Baxter's intentionally
 6   about pricing strategies.                                 6   forcing First DataBank (FDB) to misreport Baxter's
 7          Do you remember what the subject of those          7   prices for biological products by refusing to give FDB
 8   pricing discussions were in paragraph 7?                  8   any WAC information. "
 9      A. I do not remember specific discussions.             9          A couple of things here. First of all,
10               (Deposition Exhibit Number 21 was            10   yes, this aspect of the case was only 2000 going
11               marked for identification.)                  11   forward, okay? Yes.
12               (Document tendered to the                    12          I would also say that when it says here,
13               witness.)                                    13   "by refusing to give First DataBank any WAC
14   BY MR. JACKSON:                                          14   information," I think that's true, but I think that it
15      Q. Let me show you what's been marked as              15   goes further into which WAC information they provide.
16   Deposition Exhibit 21. Deposition Exhibit 21 is the      16   But in this case any WAC, I suppose, covers that.
17   Memorandum in Opposition to Baxter International         17          I'm venturing off into the Law Department
18   Inc.'s Motion to Dismiss Relators' Complaint.            18   here, but the part of the case that has to do with
19          Do you see that?                                  19   First DataBank certainly is post-2000.
20      A. Yes, I do.                                         20      Q. Okay. So, let's back up. Now, how did you
21      Q. I have a generic question for you, sir. In         21   know -- strike that.
22   the Complaint --                                         22          Didn't you previously tell me that you
23      A. Is this a generic question coming from a           23   learned about what Baxter was telling First DataBank
24   brand manufacturer?                                      24   via your communication with Kay Morgan?
25      Q. -- there are repeated allegations, and I'll        25      A. Yes.


                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 27 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                      26 (Pages 101 to 104)
                                                         101                                                           103
 1      Q. Okay. Let's now turn to the Complaint,               1   that there was a problem with AWPs, and the DOJ was
 2   which is Deposition Exhibit 7. Paragraph 24 on page 9      2   looking for a way to contain, I guess would be the way
 3   includes the following language: "Prior to May of          3   to put it, the problem.
 4   2000 FDB's misreporting of price information was           4          So, because First DataBank was the data
 5   suspected or known by state Medicaid agencies."            5   bank that all the state Medicaid agencies used, the
 6          Did you provide that information to the             6   DOJ went to First DataBank and said, "From now on you
 7   Complaint?                                                 7   are not to take AWP information from the
 8      A. I did, but I may not have been the only              8   manufacturers. You're just not to -- if they give it
 9   person that provided that.                                 9   to you, you don't accept it. You don't publish what
10      Q. I'm just interested in your knowledge and           10   they tell you to publish. Here's how you're going to
11   information.                                              11   calculate AWPs."
12          How did you know that? How did you know            12          And they gave them a methodology that they
13   what state Medicaid agencies knew?                        13   were to use from that point forward to calculate AWP.
14      A. Well, because I had personally dealt with           14      Q. What was that methodology?
15   several state Medicaid agencies, both while I was at      15      A. First DataBank was instructed to take the
16   Bayer and while I was at Express Scripts. So, you         16   WAC or wholesale acquisition cost, otherwise known as
17   know, I had personally talked to and met with, you        17   wholesale selling price, from a manufacturer and then
18   know, the Texas Drug Vendor Program, Jerry Weiss down     18   to go to the -- to a group of wholesalers and do a
19   in Florida and various other people who openly            19   survey, survey the wholesalers as to what they would
20   discussed the fact that, you know, we know the AWPs       20   mark this product up. And they did it by labeler
21   aren't right.                                             21   code.
22      Q. Now, in the next sentence of paragraph of           22          But anyway, they were to go to the
23   24 you refer to a "May 2000 FDB agreement with the        23   wholesalers and ask them to tell them what their
24   Justice Department."                                      24   markup would be. This is on not pass-through
25          Do you see that in the second sentence?            25   contracts, but on what they would charge to a

                                                         102                                                           104
 1      A. Yes, I do.                                           1   retail-type customer, what markup hey would have for
 2      Q. What can you tell me about that May 2000             2   that labeler code.
 3   agreement between FDB and the Department of Justice?       3          They were to then do a weighted average of
 4      A. Well, I think that some of this comes out            4   wholesalers. And whatever that multiplier was, which
 5   of the case I was involved with with Bayer and that        5   we all know now is typically 1.2 or 1.25, they would
 6   the Department of Justice was looking for some sort of     6   then say that that is the multiplier for that labeler
 7   a solution to the, quote, unquote, AWP problem.            7   code. They would then take that multiplier and
 8          And it was one thing to settle with a               8   multiply that times the WAC, and that would determine
 9   company like Bayer retroactively, but one of the           9   the AWP.
10   issues was, you know, how do they resolve this problem    10      Q. Now, does your Complaint allege that Baxter
11   going forward. And not just with Bayer, but with many     11   did not give a WAC to First DataBank?
12   manufacturers.                                            12      A. Yes.
13          And so, at the time the practice was, and I        13      Q. And what did Baxter give to First DataBank?
14   can tell you, you know, as someone who did it, all        14      A. According to Kay Morgan, they received a
15   three data banks, Medispan, Red Book and First Data,      15   letter from Baxter stating that -- stating their list
16   would request from the manufacturers their AWPs.          16   price, and they called it list price, was $1.31 and
17   "What do you want your AWP to be?"                        17   that they wanted an AWP also to be $1.31.
18          I would get a form, and it would have all          18      Q. All right. And then you've already talked
19   of our drugs on it and, you know, columns and rows,       19   to me about your conversation with Kay Morgan, right?
20   and it would have your current AWP in there and then a    20      A. I believe we have, yes.
21   blank for what do you want it to be next time.            21      Q. Okay. Can I have you turn to page 17 of
22          And this was how AWPs were done at that            22   the Complaint, Exhibit 7? After paragraph 48 there is
23   time. The manufacturer just picked their AWP.             23   bold and highlighted language, "Best Price And Stark
24          Once it became an issue, this was, you             24   Violations."
25   know, with the Unicare case and others, that AWPs --      25          The first sentence says -- I'm sorry.


                           L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                          HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 28 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                      27 (Pages 105 to 108)
                                                         105                                                           107
 1          The first sentence, paragraph 49: "Baxter           1   of this Complaint in connection with Stark violations?
 2   had a marketing practice of offering 'Volume Committed     2       A. Again I don't know what Stark violations
 3   Contracts' to institutional healthcare providers (such     3   are, so I don't know if I had any input.
 4   as hospitals, nursing homes and home health                4       Q. If you look at paragraph 52, it says, "The
 5   agencies)."                                                5   discounts Baxter offered to institutional providers
 6          Do you see that?                                    6   under the Volume Committed Contracts also violated
 7      A. Yes, I do.                                           7   Stark II, 42 U.S. Section 1395nn which prohibits
 8      Q. Do you believe that there's something wrong          8   compensation arrangements such as Volume Committed
 9   about volume committed contracts?                          9   Contracts between entities such as Baxter, which
10      A. No.                                                 10   furnishes goods or services, and healthcare providers,
11      Q. I'm sorry?                                          11   which are in a position to order or refer patients for
12      A. No.                                                 12   the receipt of such goods or services."
13      Q. Okay. Then is there -- what is Baxter's             13           Does that help you refresh your
14   practice regarding volume committed contracts that you    14   recollection what the Stark act might or might not do?
15   believe give rise to best price or Stark violations?      15       MR. KLEIMAN: Assumes facts not in evidence.
16      A. Well, first of all, let me say that this            16           Go ahead.
17   section comes from Linnette Sun.                          17   BY THE WITNESS:
18      Q. Okay.                                               18       A. When you say "helps," it gives me a little
19      A. Maybe that's -- I've said enough.                   19   bit more information, but I still don't know.
20      Q. No, I'm just trying to understand. It               20   BY MR. JACKSON:
21   appears that something's wrong with volume committed      21       Q. Okay. And do you know anything about
22   contracts. And you said you don't think that              22   Baxter's practices vis-a-vis volume committed
23   anything's wrong with volume committed contracts.         23   contracts?
24      A. That's correct.                                     24       A. No.
25      Q. Okay. Do you believe that Baxter -- that            25       Q. In paragraph 58 of the Complaint that's

                                                         106                                                           108
 1   as a result of volume committed contracts Baxter has       1   Deposition Exhibit 7 there are allegations that relate
 2   done something wrong, impermissible or illegal with        2   to AMPs. Do you know what an AMP is?
 3   regard to best price?                                      3      A. Sure. Average manufacturer's price.
 4       A. I don't know.                                       4      Q. Do you have any information regarding
 5      Q. What is best price? Do you know?                     5   Baxter's practices regarding calculating AMPs or BPs?
 6       A. You want the version prior to 2007?                 6      A. No, I do not.
 7      Q. I want whatever your definitions are.                7      Q. Do you believe that volume committed
 8       A. Well, CMS published -- I'm sure you're              8   contracts, the use of volume committed contracts
 9   familiar with the Deficit Reduction Act's changes in       9   constitutes a violation of the Anti-Kickback Act?
10   definitions on best price and ANP that was Published      10      MR. KLEIMAN: Incomplete hypothetical.
11   in fall of 2007. But this case is prior to that, so I     11   BY MR. JACKSON:
12   think we're looking at that definition of best price.     12      Q. You can answer the question.
13           And best price is, I believe, defined in          13      A. I'm not -- I'm not well-versed enough on
14   the Social Security Act as the lowest price offered by    14   anti-kickback to tell you whether it does or doesn't.
15   a manufacturer net of all rebates, terms and              15   BY MR. JACKSON:
16   conditions.                                               16      Q. Do you believe that a manufacturer who
17      Q. Do you have any information that would              17   provides discounts to a purchaser, that those
18   suggest that Baxter failed to calculate best price in     18   discounts are improper or illegal in any way?
19   an appropriate way?                                       19      A. Well, --
20       A. No, I do not.                                      20      MR. KLEIMAN: Calls for a legal conclusion.
21      Q. Do you believe that volume committed                21   BY THE WITNESS:
22   contracts create Stark violations?                        22      A. Yeah, I think that's --
23       A. I don't know for sure what Stark violations        23   BY MR. JACKSON:
24   are.                                                      24      Q. Go ahead.
25      Q. Did you have any input to the allegations           25      A. It's really vague. I suppose it depends on

                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
     Case 1:01-cv-12257-PBS   Document 6866-7
                      HIGHLY CONFIDENTIAL       FiledOF
                                          DEPOSITION  01/27/10 Page 29 of 104
                                                        GREG HAMILTON
                                 CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                                   28 (Pages 109 to 112)
                                                        109                                                                         111
 1    a whole flock of things in terms of what are the        1             The undersigned is not interested in the
 2    discounts for. I mean, I'll give you a discount if      2      within case, nor of kin or counsel to any of the
                                                              3      parties.
 3    you do something illegal, well, then, no, that's
                                                              4             Witness my official signature and seal as
 4    illegal.                                                5      Notary Public in and for Grundy County, Illinois, on
 5        Q. What about volume discounts?                     6      this 22nd day of January, A.D. 2010.
 6        A. I don't see a problem with volume                7
 7    discounts.                                              8
 8        MR. JACKSON: Let's go off the record.               9                 __________________________________
 9                 (Discussion off the record.)                                 Margaret A. Bachner, CSR, RMR, CRR
                                                              10                Illinois CSR No. 84-1481
10                 (Recess.)                                                    Notary Public, Grundy County, Illinois
11        MR. JACKSON: I have no further questions for        11                My Commission Expires June 22, 2010
12    this witness regarding the jurisdictional issues.                         311 South Wacker Drive, Suite 300
13        MR. KLEIMAN: Thank you. I've got nothing            12                Chicago, Illinois 60606
14    further.                                                                  Phone: (312) 386-2000
15                 (Whereupon, the deposition was             13
                                                              14
16                 concluded at 2:22 p.m., this day,          15
17                 January 21, 2010.)                         16
18                                                            17
19                                                            18
20                                                            19
21                                                            20
                                                              21
22                                                            22
23                                                            23
24                                                            24
25                                                            25

                                                        110                                                                         112
1    STATE OF ILLINOIS )                                      1             UNITED STATES DISTRICT COURT
                                                                            DISTRICT OF MASSACHUSETTS
                  )                                           2
 2   COUNTY OF GRUNDY )                                            IN RE: PHARMACEUTICAL                   )
 3          The within and foregoing deposition of the        3    INDUSTRY AVERAGE WHOLESALE )
                                                                   PRICE LITIGATION                   ) MDL No. 1456
 4   aforementioned witness was taken before MARGARET A.      4    _____________________________ )
 5   BACHNER, CSR and Notary Public, at the place, date and                             ) Master File No.
                                                              5    THIS DOCUMENT RELATES TO:                  ) 1:01-CV-12257-PBS
 6   time aforementioned.                                                               )
 7          There were present during the taking of the       6    United States ex rel.        ) Sub-Category Case
 8   deposition the previously named counsel.                      Linnette Sun and Greg           ) No. 1:08-CV-11200
                                                              7    Hamilton, Relators            )
 9          The said witness was first duly sworn and                                   )
10   was then examined upon oral interrogatories; the         8       v.                 )
11   questions and answers were taken down in shorthand by                              )
                                                              9    Baxter Hemoglobin               )
12   the undersigned, acting as stenographer and Notary            Therapeutics and Baxter          )
13   Public; and the within and foregoing is a true,          10   International Inc.         )
                                                              11           I, GREG HAMILTON, hereby certify that I have
14   accurate and complete record of all of the questions     12    read the foregoing transcript of my deposition given
15   asked of and answers made by the aforementioned          13    at the time and place aforesaid, consisting of Pages 1
16   witness, at the time and place hereinabove referred      14    to 112, inclusive, and I do again subscribe and make
                                                              15    oath that the same is a true, correct, and complete
17   to.                                                      16    transcript of my deposition so given as aforesaid, and
18          The signature of the witness was not              17    includes changes, if any, made by me.
                                                              18
19   waived, and the deposition was submitted, pursuant to    19            _________________________________
20   Rules 30(e) and 32(d) of the Rules of Civil Procedure                       GREG HAMILTON
21   for the United States District Court, to the deponent    20
                                                              21    SUBSCRIBED AND SWORN TO before me this
22   per copy of the attached letter.                         22    _______ day of __________________ 2010.
23                                                            23
24                                                            24    ____________________________
                                                                       Notary Public
25                                                            25


                          L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 30 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                 113

         A            92:17 93:12,13     analysis 70:22        93:21               86:20
Abbott 28:15          94:7 95:4,7         71:8               approximately       Avenue 2:5
ability 6:6,7         96:14,22,23        ANDREW 2:11           25:9,13 33:12     average 1:4 8:8
able 31:23 84:1,4     97:13              Andy 5:7            April 27:3 56:21      8:10 9:14 14:7
  84:10 95:2        Advate's 92:5        ANP 106:10            62:19 70:6          104:3 108:3
Absent 24:11          93:2               answer 5:24 6:10      86:11 93:20         112:3
absolutely 83:4     advertise 15:23       6:16,16 11:14      area 28:16 64:7     aware 10:16,21
accept 43:7 45:16   affect 76:7           11:22 14:13        areas 9:5             10:22 15:22
  103:9             affirm 6:12           15:19 17:25        aren't 92:25          27:19 41:25
acceptance 94:11    aforementioned        19:7 20:8 22:6       101:21            AWP 7:19 8:8 9:2
accepted 10:11        110:4,6,15          22:14 23:2,15      arrangements          9:11,13,13 10:6
  94:24             aforesaid 112:13      23:20 24:15          107:8               11:2 13:9 14:18
access 22:12 32:6     112:16              25:4 26:11 28:4    article 4:3 54:10     17:10,11 21:7,8
  32:9,19,23,25     AG 28:22              28:7 30:12           56:20,21            32:3 34:6,21,23
  33:8,13,15,15     agencies 101:5,13     32:10,12 41:5      asked 18:21 41:10     35:1 38:15
  33:20,23 42:13      101:15 103:5        48:4 49:2,4          43:20 45:7          39:10 43:10
accompanying          105:5               51:13 55:22          65:18 66:19         45:14 74:3,7,9
  90:8              ago 7:25 20:23        67:4 82:25 83:8      67:10,12 91:1,5     74:14,23,25
Accredo 47:1          32:15 66:20         84:8 87:11           110:15              75:1,6,18,19,24
accurate 30:1       agreement 25:16       108:12             asking 5:23 14:17     76:8 90:8,17
  110:14              25:19,21 26:13     answered 11:5         18:11 25:2,3        102:7,17,20,23
accurately 29:23      26:16,21 101:23     16:13 55:20          52:7 78:13          103:7,13 104:9
acquire 46:18         102:3              answering 19:20     aspect 100:10         104:17
  60:12             agreements 26:23     answers 66:20       assess 82:24        AWPs 31:5 38:23
acquisition 39:24   ahead 6:16 32:10      67:3 110:11,15     assign 14:4           44:19 45:16
  76:7 103:16         36:23 44:11        anti-kickback       assist 55:15          64:15 75:20
act 9:23 12:21,21     70:13 107:16        108:9,14           assistant 65:20       76:13 101:20
  12:22 13:5          108:24             anymore 45:16       Association 87:22     102:16,22,25
  106:14 107:14     Algonquin 54:19      anything's 105:23   assume 24:18          103:1,11
  108:9             allegations 35:11    anyway 103:22         31:20 75:19       AWP's 76:3
acting 110:12         47:16 76:19,22     apart 51:19,21      assumes 32:8        A.D 1:20 111:6
acts 36:17            98:25 99:24        apologize 61:15       107:15            a.m 1:21 80:4
actual 39:24 76:7     100:1,5 106:25     appearing 5:20      attached 110:22
                      108:1              appears 31:4        attention 42:12             B
  78:9
Act's 106:9         allege 99:1 104:10    54:18 55:7           94:17,21 95:13    B 3:6 4:1
add 69:6 74:13      alleged 36:17         78:20 79:23          95:14,18 96:10    Bachner 1:15
addition 36:15      alleging 8:22         81:1 105:21        attorney 23:1        110:5 111:9
  90:10             ALLEN 2:4            applies 84:25         58:9 86:12        back 9:7 33:14
address 92:1,2      aloud 5:25           appointment 4:16    attorneys 3:10       34:25 41:4
adjudicated         ambiguous 14:8        77:23,24 78:9        16:19 22:11,24     43:25 53:3 55:6
  51:17               30:10 62:24         79:13,14 80:14       24:11 25:1         56:8 65:23
adjudicating 53:9   Amended 3:16          80:15,16,17,21       31:20 56:6 58:3    66:13,15 68:13
  53:11               25:11 49:8          83:2 85:21           60:15              68:18 77:23,24
administered        America 3:17         appreciate 77:3     August 84:11         84:22 87:25
  91:7                46:17,21,23,24     appropriate         AUSTIN 2:18          89:9 93:7 99:24
Administrative      amount 53:15          106:19             available 40:12      100:20
  51:22             AMP 10:7 108:2       approval 93:18        67:10 70:23       background 56:7
Advate 92:10,12     AMPs 108:2,5         approved 93:19        71:9,13,17,25     ballpark 94:8


                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 31 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                 114

bank 74:12 103:5      97:2,13,24        BioScience 3:21       53:22                18:24 19:9,11
banks 74:10           100:5,6 105:13    bit 73:16 107:19    calculating 53:13      19:25 20:15,15
 102:15               107:22 108:5      blacked 81:12         108:5                20:22,24 21:3,4
bank's 33:16        Bayer 2:17 28:22    blank 102:21        calculation 39:20      21:6,7,8,12,15
Barnhill 9:18         28:22,22 29:2,4   bleed 96:6          calculations           21:17 25:17
based 22:14 27:18     34:20 64:1,3      bold 104:23           52:17,21             27:15 30:5,9
 33:11 40:7 99:5      101:16 102:5,9    Bolton 2:24 13:2    calendar 78:20         47:17 60:23
 99:7 100:5           102:11              13:15               83:11,20 84:6        68:22 71:23
basically 29:3      bearing 55:24       book 4:16 34:23     California 2:6         76:19 81:23
 90:5               Beck 83:13,14,16      79:13 80:14       call 45:5,9,9 65:5     100:10,16,18
basis 19:16 35:10   becoming 32:20        83:2 85:21          65:8 84:14,16        102:5,25 106:11
 35:13              began 34:14           102:15              96:9                 111:2 112:6
Bates 31:12 57:20   beginning 99:3      books 77:23,25      called 5:3 18:14     cases 11:1,16,21
bathroom 72:18      begins 39:9 43:5      78:9                18:15 43:20          12:1,8,15,17,20
Baxter 1:10,10      behalf 2:3,8,17     Book's 34:8           44:4 45:4 46:16      12:21 13:5,19
 2:8,9,24 3:13,21     87:23             bottom 31:11          62:6 64:7,9          13:22 14:6,11
 5:8 13:16 18:25    belief 48:20,21     BP 10:7               65:10 66:8,13        14:15,16,23
 19:4 21:9,13,17    believe 5:19 7:13   BPs 108:5             66:14,21 68:25       17:10,11,15
 21:22 22:9,19        7:20 9:2,24       brand 98:24           89:4 90:11           18:3,22 19:2,6
 30:3,4,7,8,14,22     16:12 18:14       break 11:15           94:19 104:16         19:13,17,20
 31:18 36:16          27:16 29:19,25      32:13 72:18       calling 44:8 45:22     20:6,9 21:20,22
 37:25 40:7,10        33:12 35:2,8      breaker 92:24         65:13              categories 64:14
 40:13 43:19,21       44:1 52:4 59:8    briefly 7:14 28:8   Calls 44:10 49:1     caught 95:17
 44:3 45:13,17        59:20 60:9 65:3   broad 14:2            55:1 108:20        caution 12:5
 45:24 46:11          69:22 71:11       broken 14:15        cancelled 79:14      center 8:22
 48:1 50:3,8,8        73:9 75:4,7       brought 44:25       can't 12:6,14        cents 39:22,24
 51:2,14,16,20        76:12,24 82:22      91:2 95:18          23:20 26:11          92:22 93:1,6,7
 51:23 52:17,22       83:3 86:16 95:7   buck 94:7             45:16 79:12          94:6,8,14 96:5
 53:3,20 56:20        99:21 104:20      Bureau 62:13,20       81:17 82:10        certain 12:2 28:5
 58:11 61:5           105:8,15,25         63:21,23,24         85:7,9 90:18,24      31:8 53:15,16
 77:16 78:21          106:13,21 108:7     65:2,6,9 66:8     capacity 11:17         53:17 56:9
 79:6 81:22 82:3      108:16              67:6,9 68:14,25   Capital 3:23           79:12 80:3
 82:5,8 83:15       believed 44:16        69:5,7,16,23        54:10                82:11 83:4 85:8
 84:12,13,15        best 8:12 12:24       70:2,7 71:4,13    Cardinal 40:13         85:9 99:2
 85:6 86:22,23        56:6 73:5,17        72:7                40:17 41:11,23     certainly 34:4
 89:14 90:1,25        104:23 105:15     Bureau's 67:24        42:1                 37:19 76:13
 91:3 94:1 95:22      106:3,5,10,12     business 41:25      care 34:5 47:2         90:6 100:19
 97:3 98:17 99:2      106:13,18         buy 41:22 67:1        62:4               certify 112:11
 99:10 100:23       BethAnne 15:8                           career 11:17         cetera 25:22 56:9
 104:10,13,15       better 93:3 96:6            C           case 1:7 5:9 7:15    chance 72:19
 105:1,25 106:1     big 62:14 89:19     C 7:21 8:21 10:2      7:17,19,21 8:1,7   change 74:14,16
 106:18 107:5,9       89:24 96:8          11:2 19:11          8:15,24 9:20,22      75:24 76:5,6
 112:9,9            bigger 95:16        calculate 39:18       9:23 10:1,3,6,19   changed 75:1,21
Baxter's 4:19       bill 74:6 95:11       103:11,13           11:3 14:23 15:2      76:3
 36:17 43:7 52:2    billed 74:2,4         106:18              15:5,11,15         changes 74:22
 52:4,8,10,12       biological 28:20    calculated 51:16      16:18,20 17:21       75:5 76:8 106:9
 73:21 82:11          28:21 100:7         52:6 91:6           17:22,23 18:7,9      112:17
 86:2 87:1 91:15    biologics 64:19     calculates 52:22      18:10,20,21,24     Changing 3:23


                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 32 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                   115

  54:11                40:6 42:9 46:18      22:3 25:11 27:5     65:21                91:25 97:5,14
channels 41:22         91:1 92:11           27:17,21,23       conjunction 51:8       97:16,19 104:19
Channon 8:6          comes 16:8 52:24       35:11 36:18,24    connection 17:10     conversations
Chapin 8:6             102:4 105:17         37:10,13,16         17:14 18:2           44:19 91:19
charge 41:17         coming 49:13           39:2 40:24 42:4     21:12,17,19          98:2 99:22
  65:15 103:25         58:18 98:23          42:18 43:1,4        22:15 27:15        conversion 96:11
charging 65:17       comment 16:15          47:16 48:25         65:6 107:1           96:12
  74:16 92:19        comments 79:1          49:8,15 50:23     consent 99:8         conversions
check 53:23          Commission             51:8 56:1 57:3    consequently           92:16
checks 15:10           111:11               57:10 58:20         41:19 99:9         convert 95:3
Chicago 1:19         committed 105:2        59:11 60:22       consisting 112:13    converting 96:13
  2:21 28:16,18        105:9,14,21,23       61:7,14 65:2      constitutes 108:9    convince 93:8
  82:8 111:12          106:1,21 107:6       68:22 69:5,20     consultant 11:18     copies 16:7,9
Chief 44:23,23         107:8,22 108:7       69:24 72:8          15:4 19:4 29:3       85:19
Chuck 9:18             108:8                75:13,18 76:19      29:10 30:13        copy 26:15 58:1
Cindy 66:8,10,12     common 87:20           76:21,23 86:19    consulted 30:7         60:13 110:22
  66:17              communication          87:8,13 89:15     consulting 11:11     corner 30:22
circumstances          23:16,19 24:23       91:10 98:18,22    contact 23:24          31:12
  27:5 57:24           24:25 25:14          99:5,23 101:1,7     24:1 25:8 34:19    Corporation 2:17
  74:17 75:23          35:9 42:6 43:23      104:10,22 107:1     34:25 41:11          29:4 64:1
cited 99:10            45:24 90:16          107:25            contain 72:2         correct 6:12 9:15
citing 65:1            100:24             Complaints 99:10      103:2                9:21 13:10 18:5
civil 1:16 7:17,20   communications       complete 110:14     contained 36:10        22:21 24:16
  10:1 13:9 18:15      24:5,7 26:8 35:4     112:15              37:16 42:14,25       32:18 33:3 35:6
  110:20               90:14              components            71:12 72:8           35:12 41:13
claim 18:12,14       companies 29:4         37:15             contains 62:25         51:23,24 52:6
claims 9:22 12:20      34:6 70:24         Compound 11:12      content 25:2           52:18,19,20
  12:21,22 13:5        71:10,15 92:25       32:8              contents 63:5          53:8 67:22 68:5
  14:11 20:22          93:10 94:12,25     concept 76:13         70:22                90:4 105:24
  21:6 27:17           96:9               conceptual 93:4     context 73:16,19       112:15
  91:10 95:16        company 17:15        concern 8:7 18:24     87:18              cost 39:24 66:22
clauses 56:9           17:20 28:22,23       19:4              contract 40:17         67:13,17 103:16
clear 96:19            32:17 46:16        concerned 21:12       50:7 74:11,15      costs 68:7
client 18:11 90:1      47:2 51:4 63:24      45:3 89:13          74:22 75:3 90:6    Couldn't 71:19
clients 65:21 72:3     64:5,21 71:24      Concerning          contracting 73:23    counsel 2:1,24
  87:24                102:9                27:24 28:1          74:1 76:2 91:2,3     6:14,15 14:21
close 97:25          comparable           concerns 18:10        91:4                 110:8 111:2
clue 60:20             92:13              concluded 109:16    contracts 40:7,10    counsel's 6:25
CMS 42:10,13         compares 53:21       conclusion            51:2,4,5,14          11:25 78:5
  106:8              comparison 73:17       108:20              74:13 103:25       country 67:14
code 64:17 103:21      92:19              conditions 26:1       105:3,9,14,22      County 110:2
  104:2,7            compensation           106:16              105:23 106:1,22      111:5,10
Cohen 15:8,18          107:8              conference 45:2,5     107:6,9,23         couple 87:25 93:1
colleague 64:1       competitor 96:19       84:13               108:8,8              100:9
collection 77:20     compiling 71:21      confidence 72:3     control 48:16        course 74:8 87:19
columns 102:19       complaining          confidential 1:12     87:23                90:4 93:3 95:22
come 12:2 22:22        99:13,14             20:3 57:18        conversation         court 1:1 4:3
  31:10,17 39:19     Complaint 3:16       confirmed 65:19       43:18 66:17          10:11 11:5,6,9


                      L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                     HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 33 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                  116

  56:22 110:21    32:2,4,6,19 33:9      17:21                 49:23,23 52:1        47:12 53:14
  112:1           33:13,21 34:9        defendants 9:25        54:2,8,8 56:13     differential 92:24
Courts 1:17       34:12,20,22           30:5,8                56:19,19 57:12     difficult 93:4
cover 15:15 62:5  35:1,5 36:20         defer 99:17            57:17,18 58:11     direct 34:19,25
covers 100:16     37:23 38:1,17        Deficit 106:9          58:19,22 59:2,3      36:15 42:11
Craig 18:8        38:19,19,22          define 17:11           59:5,21 60:3,3,4   directed 73:12
create 71:5 73:10 39:1,18,20            33:23                 60:17 61:3,18      directly 32:24
  73:12 106:22    44:22,25 73:8        defined 106:13         61:24 62:3         disclosed 99:9
created 75:7,8    74:9 100:6,13        definition 106:12      68:21 69:9,15      disclosing 86:19
  85:18           100:19,23 103:4      definitions 106:7      69:15 70:2,14      disclosure 72:1
creating 47:16    103:6,15 104:11       106:10                70:19 72:10,16     discount 74:3,6
  73:13           104:13               delay 93:21            72:24,25 73:3        109:2
credit 51:20     DataBank's 31:5       delivering 41:17       77:9,15,16         discounts 107:5
CRR 1:15 111:9    33:23                delta 95:8,12,14       78:19,19 86:4        108:17,18 109:2
CSR 1:15 110:5   database 33:9          96:8                  86:10,10 88:6        109:5,7
  111:9,10       date 25:12,12,13      demonstrate 51:1       89:1,10 97:12      discovery 1:18
Curascript 3:21   33:12 42:17          denied 10:19           98:10,16,16        discuss 8:25 91:2
  50:5,5,8,12 74:560:22 78:20          denominator 14:9       101:2 108:1          91:16 97:3
  97:23           83:12 87:8            14:10                 109:15 110:3,8     discussed 12:25
Curascript's 53:5 90:24 93:18          Department 27:4        110:19 112:12        45:6 83:17
curious 57:6      99:15 110:5           27:8 64:2 87:7        112:16               89:14,20 90:10
current 67:1 95:3dated 56:21 57:19      91:4 99:8           depositions 1:18       90:21 101:20
  102:20          70:6                  100:17 101:24         4:7 7:15 12:25     discussing 20:15
currently 65:17  dates 27:7,9           102:3,6               59:4 61:2            84:17
curriculum 3:12   29:25 43:25          depending 75:22      describe 7:14        discussion 14:25
curve 94:20      day 1:20 68:4         depends 33:22          8:25 28:9 97:16      37:22 84:24
customer 3:21     82:9,10,16,20         108:25              described 29:22        88:4 93:12
  44:22 52:23     83:17 88:8           deponent 110:21        43:10 45:13,13       109:9
  53:15 73:21     109:16 111:6         depose 10:20           84:20 86:23        discussions 23:4
  74:2 76:4 86:2  112:22               deposed 7:10         designate 19:25        36:16 66:15
  90:7 104:1     days 44:2 66:14        18:22 19:10,14        20:2                 98:5,8,9
customers 34:1,2  84:12                 20:25               destroy 78:15        Dismiss 4:19 7:3
  74:19          DC 2:14               deposition 1:14      details 9:8            10:19 35:3
Cutter 28:20,21  deal 45:16 92:24       2:1 3:7,8 4:2,5,8   determine 38:12        98:18
                 dealt 101:14           5:10,16,16,17         104:8              distribution
        D        Dearborn 2:20          5:21 6:20,24 7:6    determined 26:6        41:22,23
D 3:1            death 18:10            7:16,23 10:17         38:14              District 1:1,2,17
Dallas 81:6      debit 51:20            11:7,8 13:3 16:1    develop 87:3           110:21 112:1,1
damages 3:16     deck 85:3,3            16:21 17:3,3,4,9    developed 87:1       division 28:14
 8:20 25:17      Declaration 3:15       20:7 29:11,17       DICKSTEIN              50:5
data 33:15 34:11  6:24 35:2,9 36:2      29:18,21 30:15        2:10               doctor 64:18 93:9
 40:6 64:6,13,24  36:4,7,10,13          30:20,21 35:15      didn't 23:1 32:9     document 1:6
 68:4 70:8 74:10  42:7 65:24 66:7       35:21,23,23           44:8 73:11           3:13,17,19,21
 74:12 102:15,15  66:24 67:16           36:1 37:1,6,7,10      85:21 100:22         3:23 4:10,12
 103:4            89:10 97:11           42:4 43:4 46:4,9    difference 39:23       5:12,18 16:3,23
DataBank 3:19    decree 99:8            46:10 47:19,25        94:4,5,8,18,20       17:6 26:16
 4:14 31:7,9,10  Deerfield 97:2         47:25 48:24           95:9                 29:13 30:17,21
 31:22,24,25     defendant 17:16        49:9,12,13,17       different 23:22        30:24 31:1,3,6,8


                      L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                     HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 34 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                   117

 31:17,19,21         16:11 17:17,18      due 53:23           estimate 12:11,24      57:17,18 58:19
 35:17,24 37:3       17:20 22:6,12       duly 5:1,3 89:5       15:16 22:1           58:22 59:3,3,5
 37:18 46:6,10       24:21 26:1,22        110:9                42:20                59:15,21 60:3,3
 46:12,14,18         27:1,6,6,8,10                           et 25:22 56:9          61:9,18,24 62:3
 47:15,21 48:1,2     28:2,7 31:2 34:3             E          events 99:5,13,15      62:6 68:14,14
 48:6,7,11,24        36:5 38:20 39:3     E 3:1,6 4:1         everybody 64:12        68:21 69:9,15
 49:5,19 50:1,11     40:21 42:16,19      earlier 18:4,21     evidence 86:20,20      69:15 70:2,20
 50:22 51:1 54:4     43:24 44:1,7          19:14 33:11         86:25 87:3           72:10,16,24,25
 54:9,14,16,25       45:1 49:4,4,16        39:2 68:2 99:10     107:15               73:4 77:9,15,16
 55:5,17,21,24       50:13 51:25         easier 68:20        ex 1:7 112:6           78:19,20 86:4
 55:25 56:3,9,15     52:3,14 54:17         83:20             exact 9:8 12:10        86:10,10 89:10
 56:25 57:2,14       54:21,23 55:3       easy 38:21 75:24      22:6 48:5            91:10 92:7,9
 57:20,22,25         55:19,22,23           77:2              exactly 36:8           97:12 98:10,16
 58:2,6,8,14,16      56:2,5,12 57:1,8    Editorial 36:19       40:22 43:24          98:16 99:4,25
 58:24 59:6,7,10     58:12,15 59:8,9     educational 76:9      69:8 70:8 78:1       101:2 104:22
 59:23 60:4,6,8      59:20,20 60:24      either 11:17 30:4     90:19                108:1
 60:10,13,19,22      61:4,11 62:11         30:8 75:3 85:9    examination 3:2      Exhibits 70:14
 61:6,6,8,20 62:3    62:14 63:9 65:3       96:18               5:5 57:18 58:19    exist 74:23
 62:9,16,17,22       66:13 69:7 70:4     else's 95:4           89:7               existed 50:7
 63:2,13,20          70:5,9 72:9         employed 85:23      examined 5:4         exists 46:25
 69:11 70:2          75:17 76:5,8,12       86:22               89:5 110:10        expert 3:11 8:2,18
 72:12 73:10,14      76:24 77:8          employee 33:1       example 42:22          8:23 9:3,6,19
 73:15 75:4,8,12     79:10 80:3,19         86:1                68:7 83:25           10:4,12 11:11
 76:18 77:11,16      83:8 88:2 91:24     employer 50:16        84:10 99:1           11:18,21 15:5
 77:18 86:6,15       93:7,19,22          engage 51:2         Excel 50:2 51:18       17:5,14 19:4
 98:12 112:5         96:17,18 103:9      engaging 51:4         52:4,5,10,24,25    Expires 111:11
documentary          103:9 105:22        ENJAMIN 2:19          53:7               explain 16:19
 86:24 87:3          106:4,23 107:2      entered 13:2,12     excerpts 4:16          41:14,15 73:3
documents 6:19       107:3,19 109:6        20:6              excessive 92:18        73:19 76:10
 6:22 7:5 21:11     draft 36:4 55:25     entire 11:16        exclude 23:3           77:20 81:4 91:5
 21:16 22:8,11       60:16                 15:11             excludes 23:6        Express 3:19 29:5
 22:15,19,19        drafting 49:8,14     entities 30:4,8     Excuse 13:11           29:7 32:25 33:1
 31:10,16 50:16      58:20 61:7,13         107:9             exhibit 3:7 4:2        33:5,6,7,20 40:7
 50:20 62:25        Draycott 27:13       entitled 3:13,17      5:10,16,16 16:1      40:10,12,16,17
 78:3,9,16           27:15                 3:19,21,23 4:3      16:6,21 17:3,3,4     41:1,10,10,16
doesn't 64:19       Drive 111:11           4:10,12 15:23       17:9,13 18:2         41:20,24 44:21
 71:16 87:9,15      drop 92:15,22          35:24 54:10         29:11,17,18,21       44:25 46:19
 108:14             drug 3:11 17:5         56:22 60:4 62:4     30:15,21,21          48:12,14,18,19
doing 45:21 61:15    18:17,17,18         entries 85:5          35:15,21,23,23       48:22 50:3,5,11
 95:5                28:10 39:10         entry 51:19 52:2      36:1 37:1,7,7,10     50:18 73:20
DOJ 87:21 103:1      90:8 95:23            52:4,8,12           42:4 43:4 46:4       74:5,19,20 75:8
 103:6               101:18              equals 39:25          46:10,10 47:4        75:11 86:1 90:3
dollar 95:17        drugfraudsettle...   err 12:5              47:19,25,25          90:15 97:23
dollars 15:13        3:9,11 15:24        errors 53:5           48:24 49:9,12        101:16
 94:16              drugs 4:14 6:5       especially 52:5       49:14,17,23,24     expressed 92:10
don't 9:24 12:3      41:21 64:14           74:11               51:9,10 52:1,11    extensive 92:18
 12:10 13:24,25      73:9 92:20          ESQUIRE 2:4,11        54:2,8,8 56:13     extent 10:22
 14:14 15:6,9,21     102:19                2:12,19             56:19,19 57:12       11:20 19:5


                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 35 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                   118

  23:16 26:8          22:3 25:11 35:3       91:14 101:3       general 9:8,9,10     GH001525 4:18
  50:24               39:2 40:24          follows 5:4 37:25     71:22 84:20        GH001526 4:15
extra 94:14           60:23 87:8            89:6                86:12              GH001527-001...
Eye 2:13              99:10               footnote 74:8       generalities 34:17     4:13
Eyes 58:3           filing 27:2,21          76:5              generally 70:23      GH14 47:11
                    final 89:12           footnotes 74:14       71:8 81:17,19      give 12:6 15:16
          F         financial 44:24       forcing 100:6         84:7                 25:23 36:23
facility 82:8         46:15 75:2          foregoing 110:3     generated 66:19        70:17 77:1 99:1
fact 15:22 20:5     find 61:5 65:11         110:13 112:12     generic 98:21,23       100:7,13 103:8
  52:23 53:1,4        65:15 66:21         forget 64:4 93:18   gentlemen 90:22        104:11,13
  96:1 101:20       fine 6:13 10:24       form 96:13,15       getting 48:4 72:17     105:15 109:2
factor 42:1 44:18     12:12 26:2            102:18              96:9               given 12:25 60:12
  73:22 92:17       firing 86:23          format 43:22        GH000001 31:12         76:15 94:25
  95:24 96:13,16 firm 15:20                 47:11,12          GH000001-000...        112:12,16
  96:16,23          first 3:19 4:14 5:3   formed 35:10,13       3:14               gives 107:18
facts 27:5 36:9       8:19 13:8 14:14       71:24             GH000009 31:13       giving 86:24
  107:15              15:6 21:24          former 64:1         GH000010-000...      Global 4:10 62:6
factual 35:10         23:13,23 24:23      forth 34:25           3:18               go 6:16 9:7 32:10
  42:25 45:25         25:8,14 31:1,5,7    forward 45:8        GH000014 47:4          36:23 38:21
  72:8                31:9,10,22,24         86:18 100:11      GH000023-000...        41:21 43:25
failed 106:18         31:25 32:2,4,5,6      102:11 103:13       3:20                 44:11 51:15
fall 106:11           32:19 33:9,12       Foundation 81:7     GH000047 3:22          55:5,5 70:13
false 9:22 12:20      33:13,14,21,23        83:23,25          GH000048-000...        79:19 80:23
  12:21,22 13:5       34:9,12,14,19       founded 64:21         3:24                 84:22 85:12
  14:11               34:21 35:1,5        four 45:2           GH000064 55:6          87:25 88:3 91:5
familiar 63:20        36:6,20 37:23       fourth 39:12 97:1   Gh000072-0000...       92:25 103:18,22
  64:8 75:19          38:1,17,18,19       Fractions 4:12        4:4                  107:16 108:24
  106:9               38:22 39:1,17         68:25 70:20       GH000089-000...        109:8
familiarity 87:2      39:19 44:22,24      fraud 7:17 18:16      4:7                goal 53:17
far 49:2 77:24        54:16 55:21           87:22             GH000113 59:14       goes 63:6 90:9
favor 53:5            58:6 60:10          frequently 91:15    GH000126 57:20         100:15
fax 54:19,22 55:6     62:15 73:8 74:9     Friday 84:11        GH000126-000...      going 5:23 11:22
FDB 43:7 100:6,7      78:18,19 86:18      front 56:8 62:5       4:5                  19:6 22:23 29:1
  101:23 102:3        89:21 91:13           70:19             GH000290 57:21         45:10 62:24
FDB's 99:7 101:4      92:2 95:13 99:5     FUCU 87:21          GH000291-000...        72:17 74:20
February 84:23        100:6,9,13,19       fulfillment 73:23     4:9                  77:23 82:22
federal 1:16 12:2     100:23 102:15       full 6:1 99:7       GH000321 4:10          84:15 88:2 92:4
  12:21 99:3          103:4,6,15          furnishes 107:10      62:22                94:13 100:10
fee 32:3              104:11,13,25        further 51:15       GH000323 68:19         102:11 103:10
fees 25:17,22 26:4    105:1,16 110:9        55:5 66:15 89:6   GH001495 62:23       gonna 48:3 84:19
  26:24             firsthand 33:16         100:15 109:11     GH001497-001...        92:25
felt 76:15 92:16    flock 109:1             109:14              4:16               Gonzales 4:18
field 53:7          Florida 101:19                            GH001498 79:20       good 19:24 81:10
figure 38:25 39:4 fluctuated 76:14                G           GH001499 80:24         97:15
  39:14 63:19       focus 63:15           gain 42:14          GH001500 81:25       goods 107:10,12
file 1:5 3:19 63:11 folks 27:8 44:24      gained 33:12,15     GH001501 83:9        gotta 63:6
  112:4             following 2:1          37:22,25 38:4      GH001502 84:1        GPOs 34:5
filed 17:22,23        43:5 70:21 85:2      42:6 46:2            85:12              gravamen 8:14


                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 36 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                  119

great 64:11,13       happened 50:21      hit 53:16             86:20               56:7 58:16,18
  93:21 94:9,18        83:24 85:8        HMOs 4:3 56:22      impair 6:5            64:6,17,20,22
Greg 1:7,14 3:3,8    hard 21:2           home 34:5 38:21     impermissible         64:23 65:11,12
  3:11,12,15 5:2     haven't 14:15         47:2 50:17,19       106:2               67:2 70:9,23
  33:5 43:6 79:4       16:11               50:20 69:8        implications 75:2     71:4,8,12,20,25
  86:25 89:3         head 5:25 12:23       105:4             improper 108:18       72:2,8 73:8 77:1
  112:6,11,19          13:24 66:21       homes 105:4         IMS 64:11,12          91:8 100:8,14
Grill 83:13          headquarters        honestly 82:25      include 70:1          100:15 101:4,6
groaning 62:1          82:11 90:25       hope 76:24          included 46:1         101:11 103:7
group 15:9,10        health 40:13 42:1   hospitals 105:4     includes 70:21        106:17 107:19
  16:18 103:18         64:12 73:23       huge 96:7             101:3 112:17        108:4
Grundy 110:2           105:4             hundred 93:1        including 35:5      inhibited 92:18
  111:5,10           healthcare 105:3      94:15               96:19             inhibiting 96:10
grunting 62:1          107:10            Hyatt 81:6          inclusive 112:14    initial 72:1
guess 34:15 42:23    help 14:24 25:13    hypothetical        Incomplete          initiate 24:4,7
  44:13,15,16          36:19 85:4,10       108:10              108:10              75:24
  48:4 56:6 73:5       87:6,15,17                            incorrectly 52:6    injury 21:4
  73:17 80:4 92:4      107:13                      I         independent         input 50:22 57:10
  103:2              helps 107:18        idea 43:20 58:7       29:10               59:11 106:25
guessing 24:17       Hemoglobin 1:10        60:11 76:12      indicates 85:6        107:3
Guiheen 90:16          2:8 112:9         identification 3:7 Indicating 37:20     Inquiry 3:19
  92:4 97:13         hemophilia 3:17        4:2 5:11 16:2,22 indirectly 32:24    inside 62:12
guy 53:6               3:24 4:10 41:18      29:12 30:16      individual 27:12    instance 8:19
                       46:16,20,22,24       35:16 37:2 46:5    34:21             institutional
         H             54:11 56:7 62:4      47:20 49:18      individuals 70:24     105:3 107:5
H 3:6 4:1              62:6 81:7 83:23      54:3 56:14         71:10,15          instruct 11:22
half 7:25 14:1,5,9     83:25 85:1           57:13 58:23      industry 1:4          19:6
 14:19 28:19           91:16,20,23          59:22 61:19        12:18 18:4        instructed 6:15
hall 92:8,9          Henry 8:6              69:10 72:11        28:10 44:18,18      19:22 103:15
Hamilton 1:8,14      hepatitis 7:21         77:10 86:5         44:20 45:10       insurance 92:25
 3:3,8,11,12,15        8:21 10:2 11:2       98:11              52:3 64:11,14       93:10 94:11,25
 5:2,7,23 6:19         19:11             identified 9:5        64:23 75:21         96:9
 10:16 11:20         hereinabove            17:5,9,13 18:1,4   87:2 112:3        intact 78:17
 19:7 21:24 27:2       110:16               19:3 27:23 30:5 infected 8:21        Intention 4:6 59:4
 28:8 29:17 33:5     Here's 103:10          35:4 42:7 52:11 information 4:14     intentionally
 35:22 43:7          hey 53:3 76:3          58:2 62:22 84:5    21:16,21 22:9       100:5
 60:25 63:11           104:1                87:12 91:3         31:5,22,24 32:4   interacted 97:24
 72:23 77:14         He's 25:2,3         identify 13:12        32:7,20 33:8,13   interacts 52:1
 83:19 86:9,25       hieroglyphics       IGIV 84:25            33:16,24 34:13    interested 101:10
 89:3,9 112:7,11       79:4              II 107:7              34:17,21,24         111:1
 112:19              high 92:12,14       ilk 13:6              35:1,14 37:16     internal 22:19,19
handed 35:22         highlighted         illegal 106:2         37:21,24 38:3,7     52:16 74:18
handing 57:17          104:23               108:18 109:3,4     38:10,16,25       internally 52:22
 61:23               highly 1:12 20:2    Illinois 1:20 2:21    40:19 41:12       International
handwriting 47:7     historical 70:7        97:2 110:1         42:5,9,10,14,25     1:11 2:9,24
 47:9 85:17          history 3:14 28:9      111:5,10,10,12     43:13,15,21         98:17 112:10
handwritten 47:5       29:24 30:23       illustrate 51:13      45:25 46:1,15     interpret 79:3
 85:15                 38:23             immediately           49:11,13 52:23    interrogatories


                      L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                     HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 37 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                   120

  110:10               82:18 83:19          32:11 35:19       Kentucky 7:19         62:18 63:4,9
interruption           87:16 92:1           37:5 41:7 44:14     9:2,25 11:2 21:7    64:14,15 65:12
  89:22                94:13 98:25          46:8 47:23 49:6     21:8 29:21          65:16 66:13
intimate 87:2          109:2                49:21 51:10       kept 80:15            67:12 69:8 70:9
introduced 44:20     I'm 5:23 8:16          54:6 55:4 56:17   key 95:13             72:9 73:7,16
inventory 51:20        10:13,25 11:22       57:16 59:1 60:1   kin 111:2             74:1,24 75:17
involve 14:6,10        18:15 19:6 21:2      61:22 62:2 63:1   kind 34:9 48:4        76:14,14 77:1
  23:16                22:23 31:8           66:3 69:13          74:21 89:24         79:10 80:3,7,10
involved 23:14         33:18 35:24          72:14,20,22         94:19 97:5          80:18,19 82:13
  46:20 102:5          38:24 42:13          77:13 86:8 88:3   kinds 6:5             82:21 83:6,8
involvement 49:7       44:13 48:3,4         89:8 90:2 98:14   Kleiman 2:4 4:17      84:20 88:2 90:5
   49:10 84:18         51:10 52:7           107:20 108:11       6:8 11:12,20        90:6 92:19,21
involves 23:19         55:20 57:6,17        108:15,23 109:8     13:11,17 14:8       93:6,8,20,22
involving 7:17,21      58:13 59:8           109:11              14:21 15:5,7,8      95:15 99:16,19
In-House 2:24          61:23 62:21,24     Jain 2:12 5:8         15:18 16:13         100:21 101:12
isn't 71:7,25          63:4,5,9,12,16     January 1:20          17:8,12 19:5,22     101:12,17,18,20
issue 8:15 44:21       63:19,20 68:1        57:19 78:21         20:10 23:3,15       101:20 102:10
   45:1,6 67:18,19     70:16 73:15          79:9 80:12 88:8     25:2 26:7,18        102:14,19,25
   67:20 93:4          76:4,4,17,20         109:17 111:6        27:24 30:10         104:5 106:4,5
   97:16 102:24        77:1 78:1,13       jargon 10:23          32:8 44:10 49:1     106:23 107:2,3
issued 15:10 20:1      80:25 82:24,25     Jeff 83:13,14,16      51:9 55:1 61:25     107:19,21 108:2
issues 10:18 53:23     83:1 86:17 88:1    Jerry 101:18          62:24 66:1 77:6    knowledge 22:18
  55:16 67:21          89:25 91:23        Jersey 47:2           78:11 86:11         43:6 49:14,15
  75:18 91:2           92:4 97:19         job 64:12,13          99:18,21 107:15     52:16,21 58:10
  99:22 102:10         100:17 101:10        87:19               108:10,20           87:1 100:3
  109:12               104:25 105:11      jumped 95:15          109:13              101:10
it's 7:20 22:7         105:20 106:8       June 25:12          knew 43:22 99:19     knowledgeable
  25:25 30:1,1,23      108:13,13            111:11              101:13              44:17
  31:4 37:13 39:9    I've 11:5,17 12:25   jurisdictional      know 11:16 12:1      known 47:2 90:11
  39:11 46:15,25       15:25 16:12          10:18 109:12        12:3 13:25 14:3     101:5 103:16
  50:6 52:25           17:24 19:10,22     Justice 27:4,8        15:6 17:17,18
  54:10 56:21,21       24:25 35:22          87:7 99:8           17:20,23 25:25              L
  59:4 65:4 66:1       61:12 69:8           101:24 102:3,6      27:6,6,9,10 28:2   labeler 103:20
  73:7,15 75:17        105:19 109:13      justified 95:8,10     28:3 31:6,9 34:7     104:2,6
  76:8,20 83:1,2                          Justin 27:12          34:23 40:14,15     Laboratories
  87:20 92:24                J                                  40:15 41:19,19       28:14
  93:4,6 94:12,18    J 2:11                       K             44:4,7 45:1,1,10   Lake-Cook 82:6
  96:16 97:17        Jackson 2:11 3:4     Kay 4:5,8 35:5,10     45:15,16,19,19     language 74:22
  108:25               5:6,7,14 6:9        36:19 37:17,25       45:20,23 47:13       101:3 104:23
IX 96:16               11:13 12:7 13:4     38:4 42:6 43:16      48:5 49:2,4,16     large 44:22 95:12
I'd 9:7 12:5 26:18     13:11,14,18         43:19,20 44:4        50:14 51:8,25        95:14
  43:25 45:9           14:12 15:3 16:5     44:16,18 45:4        52:3,7,8,10,13     Larry 90:16 92:4
  62:10 72:18          16:14 17:1          46:2 57:19 59:5      52:14,24 53:22       92:6,10 97:13
  78:1,15              19:12,25 20:4       60:4 61:2            54:17,20,24        Las 7:22 19:11
I'll 16:6 17:12        20:13 23:7,21       100:24 104:14        55:9 56:5,12       LaSalle 1:19
   25:10 29:20         25:7 26:12,15       104:19               57:2 58:12,15      launch 92:5
   32:13 53:8          26:19 27:25        keep 29:1 78:17       59:20 60:24        launched 92:11
   68:20 78:17         29:15 30:11,19     KEITH 2:19            61:4,11 62:11        93:13,16,22


                      L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                     HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 38 of 104
                                                    GREG HAMILTON
                            CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                               121

Lauren 23:4              31:18 112:3   margin 47:5        Master 1:5 112:4     meet 21:24 22:22
law 15:20 27:18       little 73:16 83:1992:18             material 86:20        27:3,7,11,14,22
   100:17                107:18        mark 2:4 14:24     materials 50:20       28:4,6 79:11
laws 99:3,3           LLP 2:10,18       16:7 37:18        matter 5:17 7:16      80:12 82:9
lawsuit 20:18,21      locked 74:24      54:24 55:7         7:24 8:15,17 9:2     87:21,23 88:1
   27:2               longer 46:25      103:20             9:17 10:2 13:9       97:3
lawyer 13:15          look 43:25 62:11 marked 5:11,15      17:19 20:20         meeting 44:23
   18:15 22:23           64:10 65:23    16:2,6,22 17:2     25:11 27:17,24       79:6,8,17 80:8
lawyers 8:17             68:19 70:19    29:12,16 30:16     28:1 29:22           81:5,7 82:7,16
   15:23 17:5,9,13       78:18 84:10    30:20 35:16,20     48:25 49:8,15        82:19 83:3,4,7
   17:19 18:1 23:9       93:19 99:23    37:2,6 46:5,9      50:23 53:4           83:23,25 84:2
   23:14 87:7,20         107:4          47:4,20,24         56:20 57:3,10        85:7 87:11 91:9
learned 36:16         looked 61:12      49:18,22 54:3,7    59:6,12 61:7         97:12
   100:23             looking 22:13     56:14,18 57:13     65:6 75:13          meetings 84:5
leave 48:22 68:16        28:24 59:8 63:458:23 59:2,22      95:25                89:13 90:25
led 86:23                63:5 76:25     60:2 61:19,23     matters 10:17,21      97:7
left 5:8,25 28:17        102:6 103:2    69:10,14 72:11     11:10,23 26:24      members 15:19
   28:20 29:2            106:12         72:15,24 77:10    may 6:14 17:22       Memorandum
   30:22 50:11,16     looks 53:20 73:17 77:15 86:5,10      17:22,22 22:11       4:19 98:17
   64:2                  75:10 79:2 80:498:11,15           22:12 37:18         memory 82:15
legal 10:23 25:25     lot 94:16        market 4:10,12      58:1 69:23           98:1
   48:5 99:18         lots 99:21        56:7 62:6,13,19    73:11 76:7,7        mention 61:5
   108:20             lowest 106:14     63:20,22,24        78:14 84:7,9         83:21
letter 4:17 43:8      Lynn 66:9,10,12   64:5,7 65:1,5,8    93:20 101:3,8       mentioned 13:8
   44:2 45:12            66:17          66:8 67:5,9,24     101:23 102:2         15:18 18:20
   86:11 104:15                         68:13,24 69:1,4   MDL 1:4 20:1          19:14 21:7
   110:22                    M          69:7,16,23 70:1    112:3                70:25 71:10,15
letters 9:13          making 39:23      70:6,20 71:3,13   mean 9:14 16:11      Merck 15:2 16:18
let's 35:25 36:23      93:17            71:22 72:6         23:8,12 24:18        18:7 21:15
   63:15,22 66:16     man 63:25         75:22 84:25        32:1 33:17          merely 85:6
   71:23 72:20        management        91:16,23,24        38:20 44:7 49:4     met 22:4 23:9,13
   78:18 79:19         91:15,20         94:2,2 95:7        49:10 51:9           23:23 24:4,15
   85:12 88:3         Manager 36:19    marketing 9:1,10    53:12 63:4,20        24:18,20 28:3
   90:13 94:6         managers 36:16    10:5 64:2,23       70:6 73:7 83:22      87:6 91:15 92:3
   96:15,19 100:20     97:3,24          97:16,17 105:2     87:16 90:18          92:6 101:17
   101:1 109:8        manner 51:16     marketplace         93:16 94:1          method 23:13
liability 7:21 10:2   manufacturer      74:23              96:13,17 109:2      methodology
light 11:25 20:5       8:10 76:15 90:7 Markets 3:23       means 26:11           103:12,14
limited 10:17          98:24 102:23     54:10              31:21 32:3 79:6     methods 9:1
line 39:12 96:25       103:17 106:15   market's 84:18      80:7,8,15 81:5      Michael 2:24 13:2
   97:1                108:16          markings 56:11      82:7 83:3 84:23      13:15 86:12
Linnette 1:7 6:23     manufacturers     59:15             Medicaid 51:22       Millennium
   21:25 86:21         34:5 73:22      marks 79:1          87:22 101:5,13       83:13
   105:17 112:6        102:12,16 103:8 markup 103:24       101:15 103:5        million 94:15
list 12:6 43:7,9      manufacturer's    104:1             Medicare 39:5,25     mind 53:25 70:13
   45:15,20 104:15     75:22 108:3     Mark's 76:24       medication 6:4       minds 95:10
   104:16             Margaret 1:15    MASSACHUS...       Medispan 34:23       mine 64:1
litigation 1:4 21:1    110:4 111:9      1:2 112:1          102:15              minus 74:25


                       L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                      HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 39 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                              122

minute 57:5        67:13 71:18         49:17 54:2,19      28:8 31:11 33:7    outbreak 7:22
 66:20 93:1        74:21 83:6          54:22 56:13        35:2 38:6 42:11    outside 74:20
misreport 100:6   needed 41:19         57:12 58:22        42:24 48:8,9,10    owned 63:24
misreporting       76:15 92:15         59:21 61:18        49:7 51:3,12       O'Malley 82:12
 101:4            negotiations 90:6    65:21,25 68:10     61:15 63:14,21      90:16 91:1
missing 64:21     net 106:15           69:9 71:11         66:2,6 67:4,23
mistake 53:7      Networks 4:4         72:10 77:9 86:4    68:17 73:6                 P
mistakes 53:2,4    56:22               92:23 94:22        77:24 79:8         page 3:11 17:3
Mm-hmm 36:22      never 15:25 51:23    98:10              81:24 82:5,9        37:13 47:3 55:6
 79:22 80:1        70:13              numbers 57:20       83:1,24 84:12       56:8 59:14,16
moment 12:16      new 39:4 47:2       numerous 98:5       85:15,23 87:10      63:6 68:19
 67:15 70:8        49:13 95:7,20      nursing 105:4       88:3 90:20          70:19 78:18,19
Monday 82:3       news 4:3 56:20,21   N.W 2:13            93:24 95:6,12       79:19,23 80:24
Monitoring 62:4   NHF 81:1 83:21                          96:4,24 97:10       81:11,16,25
months 92:5        83:22 85:6,12               O          97:18,21 100:11     82:1 83:9 85:21
 93:23             92:7               oath 57:19 112:15   100:20 101:1        99:4 100:4
Morgan 4:5,9      non-profit 55:12    object 23:1 62:24   104:21 105:13       101:2 104:21
 35:6,10 36:19    noon 80:6,8 83:13   objection 11:12     105:18,25          pages 3:9 47:11
 37:17,23,25      normal 41:25          11:25 14:8        107:21              47:12 63:7
 38:4 42:7 43:16  North 1:19 82:6       30:10 32:8      old 65:16             77:21 78:10
 43:19 44:4 45:4  Notary 1:15         objects 6:14      once 27:16 102:24     81:20 83:20,21
 46:2 57:19 59:5   110:5,12 111:5     obtain 70:14      ones 34:3 70:5        84:6 112:13
 60:5 100:24       111:10 112:24      obtained 43:6       89:19              paid 15:4 30:13
 104:14,19        notation 81:22      obviously 51:18   Open 4:4 56:22       painful 28:13
Morgan's 61:2      84:13 85:14          73:7 81:8 85:20 openly 101:19        Paradigm 3:23
motion 4:19 7:1,2 note 31:11 34:16    occasions 90:11   operate 84:21         54:11
 10:18 35:3        58:2 81:11         occurred 80:20    operated 63:25       paragraph 36:12
 98:18             85:15,16             82:15,16,21     Operating 44:23       37:9,16,21,24
moved 53:7        noted 76:3            83:5,6 84:2,5   operations 9:1        38:3,7,11 39:12
moving 97:15      notes 47:5 79:1       99:6,14,15      operative 26:3        40:4 42:4,5,12
multiple 62:25    notice 3:8 4:6        100:1           opinion 45:23         42:15,24,25
multiplier 104:4   5:17,21 50:4       offer 70:11 87:17   92:11               43:3,5 46:1 51:7
 104:6,7           59:4               offered 53:22     opportunity           66:4,6,24 67:2
multiply 104:8    noticeable 94:19      106:14 107:5      86:24 87:3          68:24 89:12,21
                   94:21              offering 105:2    opposition 4:19       90:22 91:13
        N         November 81:8       Officer 44:23,24    7:2 86:22 98:17     96:25 97:10,11
N 3:1             number 3:8,9,11     offices 97:2        99:25               97:22 98:4,8
name 5:7 79:24     3:12,13,15,16      official 111:4    oral 4:7 59:4         99:6,7 101:2,22
named 63:25        3:17,19,21,23      oftentimes 34:7     110:10              104:22 105:1
 110:8             4:3,5,6,8,10,12      76:8            order 1:12 20:1,6     107:4,25
National 81:6      4:14,16,17,19      oh 16:9 25:6        20:7 51:19 52:2    paragraphs 35:11
 83:23,25 87:22    5:10 12:10 16:1      28:13 51:12       52:4,8,12 61:1      36:18
nature 62:20       16:7,21 20:2         53:6 62:13,17     107:11             Pardon 19:18
near 72:17         29:11 30:15          76:25 79:3 82:5 organization         part 71:14 76:13
necessarily 76:6   31:12 35:15,25       92:4              55:13 64:13         82:2 90:6
necessary 76:1,20  37:1 38:12         okay 6:1 7:5,17   original 78:3,8,16    100:18
need 5:24 45:20    39:17,18,19          10:24 11:15     originals 78:14,14   participant 41:24
 45:21 57:4        46:4 47:19           25:10,24 27:21 ought 68:16           participate 51:14


                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 40 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                 123

particular 8:22     perfectly 96:2,3       44:17 64:8        preserve 86:24      probably 14:19
 16:20 45:6         period 15:14 21:4      68:25 70:20       presume 6:4          22:1 48:19
 53:14 74:25          40:21,23 53:19       96:2,2             48:18               68:16 69:6
 82:10 85:21          74:15 75:2         please 41:15        previous 51:13       71:12 76:25
 90:23              person 22:5 24:24      59:15 65:24        67:9                78:1 79:6,15
particularly          25:3 44:17           80:23 89:10       previously 29:22     80:15 81:21
 44:17 50:18          101:9              pleased 86:18        89:4 96:21          84:23 93:22
 61:2               personal 21:4        Plough 28:18         100:22 110:8        94:25
parties 33:24         81:21              Plus 79:2           price 1:4 8:8,10    problem 102:7,10
 34:13 111:3        personally 24:4      point 27:7 29:3      8:12 9:14 14:7      103:1,3 109:6
party 75:3            27:3,22 32:17        31:20 66:14        40:3,9,17 43:8,9   Procedure 1:16
passed 94:23          32:20 73:11          72:18 75:20        45:15,20 62:4       110:20
pass-through          101:14,17            76:16 93:5 94:5    66:25 68:3 76:7    proceedings 13:3
 103:24             perspective 95:6       103:13             90:1,7,15 92:15    proceeds 25:17
Patient 55:7,9,12   pertaining 1:17      position 76:2        94:1,2 95:7        process 34:14
 55:17              Pete 82:12 91:1        107:11             101:4 103:17        51:20 52:2,4
patients 41:18      Peter 90:16          positions 91:14      104:16,16,23        53:24 74:1
 55:15 93:8         pharmaceutical       possession 48:15     105:15 106:3,5     produce 31:18
 94:14,24 95:3        1:3 9:1,10 10:5      50:13 78:5,6,7     106:10,12,13,14     56:3
 107:11               12:18 13:23          78:10,12           106:18 108:3       produced 31:16
Patricia 4:5,8        17:15,20 18:4      possibly 79:7        112:3               46:11 48:1,7,16
 57:19 60:4           21:20 51:4         post-2000 100:19    prices 40:12         54:9,25 56:5,20
Patrick 63:25,25      64:11 84:18        potential 9:6        41:19 42:1          59:6 63:2,12
 64:21 65:10,20       112:2              practice 50:15,17    66:24 74:2          75:5 77:16
 66:9,13 67:14      pharmacy 40:16         102:13 105:2,14    100:7              product 7:21 10:1
Patrick's 67:14       47:1 50:6 84:24    practices 86:23     pricing 9:11         32:4 40:13
pay 32:3 94:13,14   phone 25:3,6 45:4      87:1 107:22        13:23 14:4,10       53:16 74:2
payers 94:12          111:12               108:5              36:17 52:18         91:21 92:13
 95:12 96:10        photocopies          prefer 26:17,18      89:14,18,19,24      95:19,20 96:5
paying 41:20 95:1     77:22 78:10        premise 100:1        89:25 90:12,21      96:22,23 103:20
 95:11              phrase 9:12 93:25    premium 92:12        91:6,21,24         products 3:13
payment 39:25       PHS 90:11,20           96:7               93:12 94:19         30:22 41:18,18
pays 39:5           physically 24:19     preparation 6:20     97:3,13,17,24       42:2 50:9 64:8
PBM 84:16             24:20                7:6 59:11          98:1,6,8            64:24 85:1
PBMs 84:17,21       picked 45:4          preparing 47:16     pricing's 14:2       89:14 91:16
 84:24                102:23               48:25 58:20       principal 8:15,17    92:13,14,17
pending 6:8         picture 92:8           69:5,24 72:7      print 31:4,23        93:25 95:9 96:2
people 34:11        piece 70:8 76:10       75:13             printed 31:21        96:2 100:7
 40:16 64:22        pills 64:10          prescriptions        48:13              program 41:17
 74:17,19,20        place 43:23 91:9       73:24             printout 31:4        51:22 101:18
 75:5 87:21 91:3      110:5,16 112:13    present 2:1,23      printouts 34:7      prohibits 107:7
 91:4 92:25         plaintiff 8:4,5,19     20:24 23:10       prior 27:2,21       project 46:20
 94:23 95:11,19       8:20 20:14,17        68:4 110:7         32:20 33:7,22      promoted 18:17
 101:19               21:1,3             presentation         53:18 60:22        promotion 18:16
people's 94:17      plaintiffs 8:17        84:19              67:9,21 75:20      protective 1:12
percent 26:5,5        9:19 13:20         presented 34:11      87:7 99:14,24       20:1,5,7 61:1
 39:5 71:12         plans 73:23          presently 12:15      101:3 106:6,11     prove 93:2
percentage 14:17    plasma 4:12            20:14 67:5        privilege 22:25     provide 36:9 38:6


                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 41 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                 124

  40:3 42:24                Q          rebates 51:17          34:6 36:12 43:3      86:25
  43:13 64:6,16     qualifier 75:15      52:17,21,22          56:8 66:4,23       relators 1:8 2:3
  64:17,22 70:7     qualify 48:3         53:10,11 106:15      68:13 89:9,13        7:2 13:20 26:4
  100:15 101:6      quarter 53:20      recall 7:7 21:10       89:25 90:14          26:25 86:21
provided 21:11      question 6:8,10      21:23 22:10,13       97:22 100:4          98:18 100:4
  21:16,21 22:8      6:15,16 11:14       27:9 28:2,7 31:2     101:23 107:11        112:7
  22:11,20 38:10     14:13 16:13         34:3 36:5 38:20    reference 25:12      released 70:24
  40:18 43:15        17:12 23:2,15       39:3 42:16,19        39:14 90:22          71:9,14
  46:16 49:10        30:12 32:12,13      49:5 55:19,22        97:11,12 98:5      relevance 57:2
  50:2 56:6 57:10    49:12 55:20         56:2,4 57:1,8,11   referenced 99:16     relevant 76:18
  60:19,21 72:3      68:1,6 81:10        59:9,10,13 65:3    referred 68:3        relied 76:11
  101:9              95:19 98:21,23    receipt 107:12         69:19 90:14        rely 72:7 75:12
providers 39:22      108:12            receive 32:3           110:16             remain 21:20
  105:3 107:5,10    questions 5:24       37:17 55:17        referring 11:5       remaining 38:10
provides 38:22       6:6 19:20 20:8    received 22:16         57:9 62:18         remember 15:9
  108:17             66:19 67:3,8        34:12,22 44:2        68:18 82:2           22:14 24:22
providing 50:22      82:17 109:11        45:12 104:14         89:18,25 97:20       25:23 26:1,3,20
  59:11 64:13        110:11,14         receiving 45:24      refers 68:24           27:12 36:6
provisions 99:2     qui 9:22 12:1      Recess 72:21         reflect 29:23          40:22 43:24
public 1:15 70:23    87:20               109:10               61:25                44:1 55:23 57:9
  71:4,9,14,17,20   quickly 6:25       recessed 88:6        reflected 40:4,9       60:21 61:11
  110:5,13 111:5    quiet 76:25        recognize 37:7       reflective 40:12       62:14 65:1 70:4
  111:10 112:24     quite 87:20          47:7               reflects 50:7          70:5 71:23
publicly 99:9       quote 97:24,25     recognized 53:2      refresh 107:13         79:16 80:20
publish 103:9,10     98:5 102:7        recollection 12:24   refused 43:7           82:19 83:16
published 34:24     quoted 66:25         20:23 107:14       refusing 100:7,13      87:6 91:19 92:1
  38:15 106:8,10    quoting 39:7       recombinant          regard 21:21           92:7,21 93:13
pull 34:7 38:21                          92:13                87:11 90:20          97:7 98:7,9
  40:16 68:21               R          Recombinate            106:3              rep 28:15,18 53:3
pulled 39:1 70:9    range 12:11          38:2,15 39:22      regarding 5:17         83:15
purchase 41:20      rapidly 95:4         40:18 94:3,5         7:23 10:2,20       repeat 51:12
  50:8              rate 74:16 96:11     95:25                19:17,20 20:8      repeated 98:25
purchased 46:25       96:12            Recombinate's          25:22 27:4         report 62:14,20
purchaser 108:17    ratio 26:4,6         95:23 96:3           90:17 91:9,20        67:1 68:25 69:5
purchases 53:15     RBC 3:23 54:10     recommend    93:8      105:14 108:4,5       69:16,19 70:9
purpose 1:18        read 37:21 41:4,6 recompiles 71:4         109:12               71:5,18
  73:13               57:4,5,6 58:14   reconvene 88:7       reimbursement        reported 38:1
pursuant 1:12,16      81:25 83:11      record 6:1 14:25       55:15              reports 63:21
  5:20 110:19         89:20 112:12       41:6 61:25 88:3    rel 1:7 112:6          65:16,17 67:6,9
push 93:7           reads 39:21          88:4 109:8,9       relate 12:17 13:22     68:8 69:7,23
put 16:19 68:15     really 21:2 25:15    110:14               14:6 21:22           70:7 72:7
  71:11 73:18         108:25           Red  34:8,23           99:24 108:1        represent 5:8
  74:17,18 87:17    reason 19:24         102:15             related 10:17          25:10 29:20
  99:19,19 103:3      71:24 74:21      redacted 81:12,15      21:12,17             70:22
putting 71:21       Reasonably 29:25 redactions 81:19       relates 1:6 58:11    representation
  76:4              rebate 51:2,4,5,14 reduce 92:23           61:2 112:5           30:2
p.m 82:3,5 88:5,7     52:23 53:14,16 Reduction 106:9        relating 22:9 61:1   representatives
  89:2 109:16         53:17,23         refer 13:22 16:16    relator 3:8 43:6       27:4,22 28:5


                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 42 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                  125

  35:5 87:11           38:22 42:3 48:9     62:11 63:6         secretary 66:9      sentences 97:6
request 26:16          50:15 66:16         67:16 71:7,8       section 105:17      separate 45:2
  102:16               68:16 72:20         79:2 80:14           107:7               51:19,21
requested 41:6         74:15 77:14         81:25 82:3,5       sections 99:17      September 66:7
requests 34:22         78:18 79:19         84:11 85:2,5,14    Security 106:14       66:12
research 4:10          80:23 82:23         86:17 97:1         see 31:1,14 36:13   series 5:24
  62:6,13,19           86:3 90:13          100:4,12 104:25      36:21 39:4,6,11   service 64:20
  63:21,23,24          96:25 101:21        107:4                39:15 40:1        services 36:20
  64:2,5,6 65:2,5      104:18,19         scale 65:22            43:11 47:4          55:7,9,12,18
  65:8 66:8 67:5,9   right-hand 31:12    scanned 6:25           53:13 54:12,16      107:10,12
  67:24 68:14,25       47:5              scant 86:21            55:21 56:23       serving 91:14
  69:4,7,16,23       rise 105:15         scenario 33:4          58:4,6 59:17      set 53:15,17
  70:1,7 71:4,13     RMR 1:15 111:9      scheduled 85:7         60:6,10 62:7,11   settle 102:8
  72:7               Road 82:6           scheme 99:7            69:2,17 71:1      settled 16:18
resell 71:21         Robert 63:25        Schering 28:17         72:1,4 78:14      severe 75:2
reserved 74:15         65:10 66:11       school 28:11           79:21,25 81:1,2   shaking 5:25
resolve 45:7         Robert's 66:9       scratched 79:14        81:13 86:13       SHAPIRO 2:10
  102:10             role 8:1,18,23,25     83:2                 87:4 89:16        share 25:17 26:24
Resources 3:17         9:3 10:3,4        screen 31:5 48:13      91:17 98:19       sheet 73:18
  46:16,20,22,24     room 13:12 45:3     Scripts 3:19 29:5      99:11,23 101:25   sheets 34:8
responded 53:6         91:2                29:7 32:25 33:2      105:6 109:6       she'd 45:9
response 6:25 7:1    Ross 28:14            33:5,6,8,20 40:8   seeing 59:9         shoebox 78:17
  23:8 32:14 35:3    rough 6:23            40:10,12,16,17     seen 5:18 15:25     Short 89:22
responsible 70:24    routes 41:21          41:1,10,11,17        16:10,12 17:6     shorthand 110:11
  71:9,15 73:22      rows 102:19           41:20,24 44:21       29:18 30:24       show 5:15 16:6
rest 67:1            Royal 78:24 79:7      44:25 46:19          36:2 46:12 48:2     17:2 29:16
result 8:20 106:1      79:9,24 80:12       48:13,14,19,19       49:23 54:14         30:20 35:20
resumed 89:2,7       Ruchi 2:12 5:8        48:22 50:3,6,11      56:25 57:22,24      37:6 39:7 46:9
retail-type 104:1    Rules 1:16 110:20     50:19 73:20          59:7 60:8 62:9      47:24 49:22
retained 9:16          110:20              74:5,19,21 75:9      72:25 77:18         54:7 56:18 59:2
  11:10,17,21        running 53:6          75:11 86:1 90:3      86:15               60:2 69:14
  12:9 13:20                               90:15 97:23        Selected 4:14         72:15,23 74:18
  14:20 15:7 17:9             S            101:16               73:9                75:5 77:14 86:9
  17:14,18,24        s 3:6 4:1 98:18     scrutinizing         sell 94:1,2           92:6 98:15
  18:2,6 19:3        safe 95:23 96:3,3     94:23              selling 90:1 94:6   shows 51:16
retention 15:14        96:5              scrutiny 95:18         103:17            shut 77:5
retroactively        sales 28:15,18      scurried 45:2        sells 90:8          side 12:5 48:5
  102:9                40:3 43:7 53:18   se 75:14,15          send 26:16            64:11
revealing 26:8         53:19,21 64:16    seal 11:22 12:2,3    senior 91:15,20     SIDLEY 2:18
review 6:19,22         93:17               12:4,4,15 19:6,9   sense 14:3,3 76:6   signature 110:18
  61:6               saw 16:20 36:6        19:17,21 20:9      sent 31:19 78:11      111:4
reviewed 6:23,24       61:11 62:15         21:20 26:24          85:3              signed 60:25
  7:5 22:18 69:23    saying 44:13 48:3     111:4              sentence 39:9,21    signs 95:17
reviewing 22:15        63:9 76:20        second 7:19 72:2       72:2 86:18        similar 13:6
  59:10                95:23,24 96:1       86:17 95:1 99:6      89:12 91:13       simply 39:18
rid 78:15            says 30:22 36:15      101:25               98:4 99:6           71:19
right 5:25 11:9        48:18 50:4 54:9   secondhand             101:22,25         single 63:2,11
  35:25 37:15          54:19 55:7          33:16                104:25 105:1        67:18


                      L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                     HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 43 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                   126

sir 7:10 15:12         62:21 65:3 70:5      87:12 110:21      subsidiary 28:21             T
  25:10 29:20          75:16 76:12          112:1,6           substantive 10:21   T 3:6 4:1
  38:24 57:17          81:17 84:3         stating 43:8        Sub-Category 1:7    table 13:13,15
  58:13 61:10          89:13 91:12          104:15,15           112:6               63:5
  63:3 68:6 98:21      92:1 97:9          statistic 14:15     such-and-such       tablets 64:10
site 16:20           specifics 34:18      Steffans 18:8,11      74:25             take 4:7 43:23
sits 53:20           specified 46:1       Steinke 15:2,5      sudden 95:16          50:10,15 57:5
sitting 13:13        specify 66:6,7       stenographer        suggest 106:18        59:4 62:11
situation 53:14        74:11                110:12            suggesting 92:21      72:18 73:5
six 92:5             speculate 44:5       step 51:15          Suite 1:19 111:11     103:7,15 104:7
size 62:10           speculation 44:10    Steve 15:8 80:6,9   sum 39:5            taken 1:14 60:5
slide 84:19 85:3       49:1 55:1            80:10             summary 4:8,14        110:4,11
slides 84:11,15,16   spelled 75:17        straight 95:23        60:4,16,17 73:8   takes 71:4
  85:2               spend 96:4           strategies 98:6     summer 48:23        talk 45:9 66:16
small 20:22 21:5     split 26:4           Street 1:19 2:13      93:14               67:13 77:4
  65:21              splitting 25:22        2:20              Sun 1:7 7:8 21:25     97:23
smaller 94:22        spoke 66:8,12        strike 58:17          22:8,16,20,22     talked 65:20
Social 106:14        spoken 24:9            100:21              23:9,13,23 24:4     90:19 101:17
sold 39:22 64:15     spread 39:23         Strong 18:6 21:15     24:7,9,15,23        104:18
  64:15 74:1         spreadsheet 50:2     Stuart 79:24          25:1,14,16,22     talking 8:16 14:9
solution 102:7         50:7 51:18,25        80:12               26:21 70:17         34:16,17,18
somebody 79:7          52:5,5,11,24       study 70:22           86:22 99:1          61:8 62:19,21
something's            53:7               stuff 25:25 34:9      105:17 112:6        92:10
  105:21             spreadsheet-dri...     64:16,17 84:20    Sun's 6:24          tam 9:22 12:1
sorry 8:6 10:25        53:1                 90:5 99:16,18     superiors 44:20       87:20
  35:24 42:13        spring 93:14         subdivision 74:6    suppose 51:15       telephone 24:10
  51:10 55:20        Sr 3:11              subject 7:15 14:2     100:16 108:25       24:24
  58:13 76:17        standard 51:19         20:1,7,20 79:16   sure 6:1 8:16       tell 12:14 25:21
  86:17 91:23        standing 95:22         80:17 85:9          10:13 13:14         40:11 44:8
  104:25 105:11      Stanford 2:5           89:20 91:9 98:7     24:14 28:10         61:13 65:25
sort 75:21 76:14     Stark 104:23         submitted 34:21       29:1 35:25 39:9     77:4,6,8 78:22
  92:6 102:6           105:15 106:22        43:8 110:19         41:8,16 48:9        81:15 84:1,4
sources 71:20          106:23 107:1,2     submitting 43:21      62:14 63:18         85:13 90:18,21
South 2:20             107:7,14           subscribe 112:14      68:1,2 70:16        90:24 100:22
  111:11             start 63:22 82:18    SUBSCRIBED            72:20 76:2 78:1     102:2,14 103:10
speak 7:8 66:10        93:17                112:21              78:24 81:19         103:23 108:14
  66:11              started 28:10        subscriber 31:25      82:14 106:8,23    telling 64:12 76:4
speaking 84:7          64:4,5               32:1,5,9,15,16      108:3               100:23
specialty 41:18      state 4:6 9:25         32:21 33:4,18     survey 62:4         tells 52:24 53:8
  47:1 50:6 73:24      12:21 28:5 59:3      34:10 48:20         103:19,19         tendered 5:12
  84:18,24             87:21 99:3         subscribers 67:5    suspected 101:5       16:3,23 29:13
specific 25:20         101:5,13,15          67:24,25 68:3     switch 93:9           30:17 35:17
  36:17 49:5           103:5 110:1          68:11             Switching 96:21       37:3 46:6 47:21
  82:15,19 90:19     statement 6:12       subscription        sworn 5:1,4 89:5      49:19 54:4
  91:19 93:11          86:19                33:20 66:22,23      110:9 112:21        56:15 57:14
  98:1,9             states 1:1,7,17      subsequent 10:20    system 41:24          58:24 59:23
specifically 9:11      4:13 27:18,23      Subsequently          51:20 52:8,12       61:20 69:11
  22:10 34:3 52:9      62:5 69:1 70:21      66:13                                   72:12 77:11

                      L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                     HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 44 of 104
                                                    GREG HAMILTON
                           CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                                   127

  86:6 98:12           94:13                110:6,16 112:13      32:15 47:12      uptake 92:16
term 93:24           thing 22:24 45:21    times 6:14 7:12        74:10 75:1        93:25
terms 25:19,20         63:16 64:4 93:4      22:4 23:9 24:3,9     82:17 84:9       uptick 93:25
  26:1,20 27:6         94:20 96:1           27:14 75:1 93:1      86:21 93:22      use 9:12 47:15
  61:1 95:1            102:8                104:8                97:7              51:21 55:25
  106:15 109:1       things 12:2 45:10    title 73:8           type 45:24 64:19    58:18 64:24
testified 5:4 9:3      67:17 73:25        titled 62:18         typically 70:7      69:4 75:12
  10:9,14 11:2,4,6     74:18 83:21        today 5:20,24 6:7      79:12 82:11       103:13 108:8
  68:2 69:22 89:5      84:17 95:25          6:14 20:15,25        104:5            uses 71:5
  89:6                 100:9 109:1          29:9                                  U.S 4:3 56:21
testify 6:7 26:7     think 7:1,3,4 12:5   today's 10:16                U           107:7
testifying 19:17       15:9,17,21           66:24 67:19,20     Udden 23:4,17,20
  19:19                18:15 20:22        told 67:16,18 97:4    26:9                       V
testimonial 11:10      21:2,5 22:25       top 12:23 13:24      unacceptable       v 1:9 112:8
testimony 8:7          34:13 43:24          30:22 48:19         43:22             vague 20:23
  21:8 33:11 41:9      44:6 45:12           50:4 54:9,18,24    unaudited 64:7,9     108:25
  41:9                 57:23 58:1           55:6 66:21         unbelievably       Vaguely 27:20
Texas 4:6 59:3         62:15 65:17,19       81:25 85:14,15      75:19             variety 71:20
  61:1 101:18          73:2 75:16 76:9    topic 9:5            undergraduate      various 27:18
text 59:16             92:23 93:7,19      total 12:8 15:10      28:11               35:11 50:20
Thank 13:17 36:1       100:14,14 102:4    touched 14:18        underlined 56:10     73:23 87:12,20
  42:11 85:11          105:22 106:12      trade 92:6            59:16               99:3 101:19
  109:13               108:22             transcript 112:12    underlining        Vegas 7:22 19:11
that's 6:13 7:3,4    thinking 73:15         112:16              59:19             Vendor 101:18
  9:21 10:24 18:5    third 7:20 19:13     treat 96:6           undersigned        Venice 2:6
  19:24 21:6           33:16 34:13        treats 95:24          110:12 111:1      venturing 100:17
  22:23,25 26:2        96:25 99:6         tree 61:16           understand 6:6     version 6:23
  36:1 42:14,25      thought 68:2 95:1    trees 61:17           6:11,13,17 9:13     106:6
  48:16 50:14        thousand 15:13       trial 10:9,14         10:22 24:14       versus 9:25 15:2
  64:25 67:2,19        93:2 94:15         trips 97:2            38:24 41:8 63:8     18:7 21:15
  67:20 68:5 75:3    three 7:13 11:1      true 23:11 100:14     63:13 68:1 77:2     32:17
  75:15 81:21          12:25 13:8           110:13 112:15       78:13 90:13       VIII 95:24 96:16
  82:22 86:2 88:1      15:22 22:7 23:9    try 41:14 73:18       96:12,24 99:20      96:23
  94:19 97:5           32:15 45:1 75:1      79:3 87:16          105:20            violated 99:2
  100:14 105:19        97:2 102:15        trying 21:2 36:19    understanding        107:6
  105:24 107:25      tiers 53:14            38:24 45:22,23      71:3              violation 108:9
  108:22 109:3       time 10:20 15:14       63:12,16,19        Unicare 102:25     violations 104:24
theirs 95:4            17:21 21:4 22:2      77:1 82:24,25      unit 38:2 93:1       105:15 106:22
Theis 4:18 86:12       23:23 27:7 33:7      83:1 94:4           94:14               106:23 107:1,2
Therapeutics           38:20 39:1           105:20             United 1:1,7,17    Vioxx 7:18,23
  1:10 2:8 112:9       40:21,23,23        turn 37:9 42:3        4:12 62:5 69:1      8:15 11:2 13:8
therapies 95:3         41:2 42:17,21        47:3 59:14          70:21 110:21        18:19,21,24
therapy 95:8           45:8,17 48:20        81:24 83:9          112:1,6           Virginia 55:13
there's 6:8 33:15      76:16 79:17          97:10 101:1        units 87:21,23     vis-a-vis 107:22
  55:6 63:6 79:13      85:23 87:7,24        104:21              93:2 94:15        vis-à-vis 52:17
  90:8 105:8           90:19,23 92:23     turns 94:16          universal 94:11    vitae 3:12
they'd 92:11 95:2      94:6 97:22         two 17:8,13 24:3     universe 14:11     volume 105:2,9
they're 53:9           102:13,21,23         28:19,19 29:3      unquote 102:7        105:14,21,23


                      L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                     HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 45 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                              128

 106:1,21 107:6      108:13              109:12 110:4,9       74:25 81:9        06 50:18
 107:8,22 108:7     went 28:13,17,20     110:16,18 111:4      85:13,22 93:2
 108:8 109:5,6       29:7 53:1,3        wonderful 95:25       94:16                    1
                     64:21 103:6        word 9:12 14:4      years 20:23 28:16 1 3:8 5:10,16,16
        W           We'd 26:15 45:14     78:21,22 80:2        28:19 32:15       82:3,5 112:13
WAC 38:1 45:20      we'll 9:13 16:7      89:24                34:24 67:25     1.2 104:5
 45:21 100:8,13     we're 20:15 34:16   words 17:21 80:5      69:7,8 75:1     1.25 104:5
 100:15,16           34:16,17 61:25     work 12:1,1           77:23 88:1      1:01-CV-12257...
 103:16 104:8,11     72:17 106:12        15:15 28:9,14      you'd 6:11 12:10    1:6 112:5
Wacker 111:11       what's 5:15 16:6     28:17 29:7,23        15:10 19:14     1:08-CV-11200
Wait 92:25           17:2 18:9 29:16     45:7 50:17           26:17 93:7        1:7 112:6
waiting 6:11         30:20 35:20         52:15 91:4         You'll 58:2 67:13 1:30 88:7
waived 110:19        37:6 44:15 46:9    worked 14:17        you're 5:20 6:4   1:36 89:2
want 9:7 11:15       56:18 59:2 60:2     28:15,19,22          6:12,15 11:4    10 3:21 12:13,14
 19:25 23:3          64:7,9 72:15,23     29:3,8 30:3 41:9     14:17 19:16       12:17 18:3 19:2
 28:25 38:21         77:15 78:25         46:20 50:19          20:24 26:8        20:8 21:19
 42:19 57:4          80:2 86:9 90:11     51:23 91:6           28:24 29:1 39:7   26:23 49:17,23
 65:12 77:14         97:15 98:15        working 41:1,16       61:8 64:8 68:18   49:24 51:7,9,10
 78:14 79:3         whim 75:22           46:19 50:18,20       74:12 75:19       52:1,11 62:18
 81:18 82:22        wholesale 1:4 8:8    87:19                82:2,22 87:16     80:4 84:12
 96:4,18 99:20       9:14 14:7          workings 52:17        103:8,10 106:8  10:32 1:21
 102:17,21 106:6     103:16,17 112:3    works 52:3,8,11     you've 11:1 16:13 101 84:16
 106:7              wholesalers          52:13,14             17:18 18:22     11 3:23 28:16
wanted 34:24         103:18,19,23       world 64:19           19:3 51:23 53:3   54:2,8,8
 43:9 65:10,15       104:4              worth 94:12           53:5 97:4       11/13/02 60:5
 66:21 67:1         wholly-owned         95:20                104:18          112 112:14
 74:11 75:23,25      28:21              wouldn't 71:18                        115 15:13
 104:17             Who's 83:14          74:24 82:13                Z         12 4:3 56:13,19
Washington 2:14     willy-nilly 75:21    94:25              Zero 24:13          56:19
wasn't 15:7 34:10   wind 76:14          writing 26:13       zip 64:17         12:48 88:5
 35:14 93:21        witness 3:2 5:1,3   wrong 30:1 51:3                       120 15:13
Wave 62:18                                                           $        13 4:5 37:13
                     5:13 8:2,18         53:24 105:8,21
way 8:8 13:14        10:12 11:18,24      105:23 106:2       $1.15 94:9          57:12,17,18
 18:25 23:13,22      15:1 16:4,24       wrongful 18:10      $1.235 39:5,25      58:19 66:7
 33:17,17,19         19:8,23 20:11      W/AWP 3:14          $1.30 38:2        13th 66:12
 52:1 55:25          23:5,18 25:5        30:22              $1.31 43:9,10     1395nn 107:7
 63:17 97:15         26:10 29:14                              45:14,15 104:16 14 4:6 25:12
 103:2,2 106:19      30:18 35:18                X             104:17            58:22 59:3,3
 108:18              37:4 44:12 46:7    X 3:1,6 4:1         $1.548 39:14        66:4,6,24 67:2
ways 33:15           47:22 49:3,20                          $1.625 38:25      1456 1:4 20:2
website 15:23,25                                Y           $1.6250 38:13       112:3
                     51:11 54:5 55:2
 16:8,12,16,16       56:16 57:15        Yeager 15:8,19      $16,000 68:3      15 4:8 47:11
 16:19 17:4          58:25 59:24        yeah 53:6 75:16                         59:21 60:3,3
                                          77:22 81:5 82:5            0
 42:10,14            61:21 66:2                                                 61:9 93:1 94:7
Wednesday 84:23                           93:14,18 94:12    0.345 39:25         96:4
                     69:12 72:13
weighted 104:3                            96:2 108:22       001495 4:11       1506 84:10
                     77:8,12 86:7
Weiss 101:18                            year 7:25 28:11     03 85:14          16 3:9,11 4:10
                     89:4,23 98:13
well-versed                               28:12 29:5        04 50:18 81:10      61:18,24 62:3
                     107:17 108:21
                                          53:20 64:4 67:9   04.11.05 30:23

                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
   Case 1:01-cv-12257-PBS  Document 6866-7
                  HIGHLY CONFIDENTIAL         Filed
                                      DEPOSITION OF 01/27/10 Page 46 of 104
                                                    GREG HAMILTON
                          CONDUCTED ON THURSDAY, JANUARY 21, 2010
                                                                                129

  68:14 70:2,14       29:8,9 48:23      4 3:12 29:11,17              8
16th 84:11          2007 106:6,11         29:18 91:13       8 3:17 36:12 46:4
17 4:12 69:9,15     2008 15:17            96:25               46:10,10 92:22
  69:15 70:15,20    2009 66:7           4th 81:7            80 26:4 39:5
  104:21            2010 1:20 88:8      4-5-6 81:1          84-1481 111:10
18 4:14 72:10,16      109:17 111:6,11   4/22/05 4:17        847-960-7384
  72:24,25 73:4       112:22            40 36:18              54:22
1825 2:13           202-420-2200        42 107:7            85 63:6
19 4:16 77:9,15       2:15              46 3:17             86 4:17 28:23
  77:16 78:19,20    21 4:19 88:8        47 3:19             89 39:22,24 94:6
19th 80:13            98:10,16,16       48 104:22             94:8
1973 28:13            99:4,25 109:17    49 3:21 105:1       89-cent 40:3
1993 78:2           21st 1:20
1995 34:15          22 86:11 111:11              5                   9
1998 99:3,16        22nd 111:6          5 3:4,8,13 30:15    9 3:19 47:19,25
1999 28:23 29:1     24 78:21 101:2,23     30:21,21 93:6       47:25 48:25
                    24th 79:9           5th 81:7 84:23        49:13,14 101:2
         2          25 12:13,15,17      500 63:6            90292 2:6
2 3:9 16:1,7 17:4     18:3 19:2 20:8    52 107:4            95 71:12
  17:9,13 18:2        21:19 26:24       54 3:23             98 4:19
  56:21 89:12       28 57:19            56 4:3              99 29:2
  90:22 99:4        29 3:12 68:24       57 4:5
  100:4             2907 2:5            58 4:6 107:25
2:22 109:16                             59 4:8
20 4:17 20:22                3
  26:5 67:5 68:3    3 3:11 16:21 17:3            6
  86:4,10,11          17:3 99:6         6 3:15 35:15,24
  94:14 96:4        30 3:13               36:1 66:1 89:10
20-some 96:5        30(e) 110:20          93:6 97:10,11
2000 62:19 99:6,7   300 1:19 111:11       97:12
  99:14,15,24       310-306-8094 2:7    6th 81:7
  100:2,10 101:4    311 111:11          600 1:19
  101:23 102:2      312 111:12          60603 2:21
20006-5403 2:14     312-853-7814        60606 111:12
2001 29:8 68:24       2:22              61 4:10
  69:4,16 70:21     32(d) 110:20        69 4:12
  75:20,20          340B 90:12,20
                                                 7
2002 57:20 68:7       91:5,9 97:4
  68:11 70:6        35 3:15             7 3:16 35:21,23
2003 56:21 85:24    36 36:18 37:9,16      35:23 37:1,7,7
  85:25 93:14,15      37:22,24 38:4,7     37:10 42:4 43:4
2004 42:22,23         39:12 40:4          49:9 68:21
2005 15:17 22:2     37 3:16 42:4,5,15     91:11 92:22
  24:16 25:8,12     371 59:5              97:22 98:4,8
  27:3 42:22,23     38 42:12,24 43:1      101:2 104:22
  78:21 79:9        386-2000 111:12       108:1
  80:13 86:11       39 43:3,5 46:1      72 4:14
2006 24:18,21                           77 4:16
                            4

                     L.A.D. REPORTING & DIGITAL VIDEOGRAPHY - 800-292-4789
                    HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 47 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 48 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 49 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 50 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 51 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 52 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 53 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 54 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 55 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 56 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 57 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 58 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 59 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 60 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 61 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 62 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 63 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 64 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 65 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 66 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 67 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 68 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 69 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 70 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 71 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 72 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 73 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 74 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 75 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 76 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 77 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 78 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 79 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 80 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 81 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 82 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 83 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 84 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 85 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 86 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 87 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 88 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 89 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 90 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 91 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 92 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 93 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 94 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 95 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 96 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 97 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 98 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 99 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 100 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 101 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 102 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 103 of 104
Case 1:01-cv-12257-PBS Document 6866-7 Filed 01/27/10 Page 104 of 104
